        Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 1 of 64



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11   Vazquez, Brandon Vera, and Kyle Kingsbury

12   (Additional counsel appear on signature page)

13
                             IN THE UNITED STATES DISTRICT COURT
14                                FOR THE DISTRICT OF NEVADA
15
     Cung Le, Nathan Quarry, Jon Fitch, Brandon          Case No.: 2:15-cv-01045-RFB-PAL
16   Vera, Luis Javier Vazquez, and Kyle Kingsbury,
     on behalf of themselves and all others similarly
17   situated,                                           PLAINTIFFS’ OPPOSITION TO
                                                         ZUFFA’S MOTION FOR SUMMARY
18                                                       JUDGMENT
                           Plaintiffs,
19
            v.
20
     Zuffa, LLC, d/b/a Ultimate Fighting
21   Championship and UFC,
22
                           Defendant.
23

24

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28
                                                                            Case No.: 2:15-cv-01045-RFB-(PAL)
                       PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                           Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 2 of 64



 1                                  GLOSSARY OF ABBREVIATIONS

 2         For the convenience of the Court and efficiency, Plaintiffs' Opposition to Zuffa's Motion for

 3   Summary Judgment uses the following abbreviations:
 4
     Expert Reports                                                   Abbreviation                    Exhibit
 5
        Expert Repo11 of Hal J. Singer, Ph.D. (August 31 , 2017)      SRI                                  1
 6

 7      Rebuttal Expe11 Repo11 of Hal J. Singer, Ph.D. (January 12,   SR2                                  2
        2018)
 8
        Supplemental Expe11 Repo11 of Hal J. Singer, Ph.D. (April     SR3                                  3
 9      3, 2018)

10      Second Supplemental Reply Repo11 of Hal J. Singer, Ph.D.      SR4                                 4
        (May 28, 2018)
11
        Expert Repo11 of Andrew Zimbalist in Cung Le, et al. v.       ZRl                                  5
12      Zuffa, LLC (August 30, 2017)

13      Expert Rebuttal Repo11 of Andrew Zimbalist (December 26,      ZR2                                  6
        2017)
14
        Expert Rebuttal Repo11 of Professor Alan Manning (January     MRI                                  7
15      12, 2018)
16
        Expert Repo11 of Guy A. Davis, CPA, CIRA, CDBV, CFE           GDRl                                 8
17      (August 31, 2017)

18      Expert Repo11 of Professor Robe11 H. Topel (October 27,       TRI                                  9
        2017)
19
     Depositions                                                      Abbreviation                    Exhibit
20
        Deposition of Nathan Quany (September 30, 2016)               QuaITyTr.                          11
21

22      Rule 30(b)(6) Deposition of Kirk D. Hendrick on behalf of     Hendrick                       12, 13
        Zuffa, LLC (November 29-30, 2016)                             30(b)(6) Tr.
23
        Rule 30(b)(6) Deposition of Dee Lawrence Epstein on behalf Epstein                               14
24      of Zuffa, LLC (December 2, 2016)                           30(b)(6) Tr.
25      Deposition of Denitza Batchvarova (January 25 , 2017)         Batchvarova                        15
                                                                      Tr.
26

27      Deposition of Kurt Otto (Febmary 6, 2017)                     Otto Tr.                           16

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                                                                              Case No.: 2:15-cv-01045-RFB-{PAL)
                      PLAINTIFFS' OPPPOSITION 10 ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                          Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 3 of 64



 1
     ,_
                                                                                                                -
      Depositions (continued)                                           Abbreviation                    Exhibit
 2
          Deposition of Thomas J. Atencio (February 9-10, 2017)         Atencio Tr.                        17
 3
          Deposition of Jon Fitch (Febmaiy 15, 2017)                    Fitch Tr.                          18
 4
          Deposition of Brandon Vera (Febmaiy 16, 2017)                 Vera Tr.                           19
 5
          Deposition of Kyle Kingsbmy (Febrnary 17, 2017)               Kingsbmy Tr.                       20
 6
          Deposition of Jeremy Lappen (Febmaiy 28, 2017)                Lappen Tr.                         21
 7

 8        Deposition of Lorenzo J. Fertitta (March 23 , 2017)           Fertitta Tr.                       22

 9        Deposition of Shannon Knapp (April 11 , 201 7)                Knapp Tr.                          23

10        Deposition of Sean Shelby (April 12, 2017)                    Shelby Tr.                         24

11        Deposition of John Mulkey (April 19, 2017)                    Mulkey Tr.                         25

12        Deposition of Jeffrey Arnnson (April 25 , 2017)               Arnnson Tr.                        26
13
          Rule 30(b)(6) Deposition of Drew Goldman on behalf of         Deutsche                           27
14        Deutsche Bank (April 28, 2017)                                Bank 30(b)(6)
                                                                        Tr.
15
          Deposition of Ike Lawrence Epstein (May 25 , 2017)            Epstein Tr.                        28
16
          Deposition of Joseph Silva (June 7, 2017)                     J. Silva Tr.                       29
17
          Deposition of Scott Coker (August 3, 2017)                    Coker Tr.                          30
18

19        Deposition of Dana F. White (August 9-10, 2017)               White Tr.                  31 , 32, 33

20        Deposition of Hal J. Singer, Ph.D. (September 27, 2017)       Singer Tr.                   34, 141
          (excerpted)
21
          Deposition of Paul Oyer (November 29, 2017) (excerpted)       Oyer Tr.                           35
22
          Deposition ofRobeli Topel (December 5-6, 2017)                Topel Tr.                      36, 37
23
          Deposition of Roger D. Blair (December 8-9, 2017)             Blair Tr.                      38, 39
24

25

26

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28
                                                           lll
                                                                                Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS ' OPPPOSIDON TO ZUFFA' S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 4 of 64


     ,_
 1    Other Terms                                                          Abbreviation
 2
          Plaintiffs' Colmterstatement of Facts                            CSF
 3
          Zuffa's "Statement of Undisputed Facts"                          ZSUF
 4
          Zuffa 's Motion for Summaiy Judgment, ECF No. 573                MSJ
 5
          Exhibits to Zuffa's Motion for Summary Judgment, ECF             Z.Ex.
 6        Nos. 574-75
 7
          Zuffa's Motion to Exclude Testimony of Dr. Hal Singer,           SD
 8        ECFNo. 524

 9        Plaintiffs' Consolidated Brief in Opposition to Zuffa, LLC ' s   SZDO
          Motion to Exclude the Testimony ofDrs. Hal Singer and
10        Andrew Zimbalist, ECF No. 534
11        Reply in Suppoti of Plaintiffs ' Motion for Class                Class Reply
12        Celiification, ECF No. 554

13        Consolidated Amended Antitrust Class Action Complaint,           CAC
          ECFNo. 208
14
          Response to Plaintiffs ' Requests for Admission                  PRFA
15
          Revenues generated by a live MMA event                           Event
16                                                                         Revenues
17
      Individuals                                                          Abbreviation        Organization/Title
18
          Jeff Aronson                                                     Aronson             Titan FC: Owner
19                                                                                             and Chief
                                                                                               Executive Officer
20
          Thomas Atencio                                                   Atencio             Affliction lVIMA
21
          Denitza Batchvarova                                              Batchvarova         Zuffa, LLC:
22
                                                                                               Senior Vice
23                                                                                             President of
                                                                                               Strategy
24
          Dr. Roger D. Blair                                               Blair               Zuffa, LLC:
25                                                                                             Economist
26
27

28
                                                          IV
                                                                                     Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS ' OPPPOSIDON TO ZUFFA' S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
      Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 5 of 64



 1
     Individuals (continued)                                        Abbreviation         Organization/Iit le
 2
       Scott Coker                                                  Coker                Bellator:
 3                                                                                       President;
                                                                                         Strikeforce:
 4
                                                                                         Founder, Fo1mer
 5                                                                                       President and Chief
                                                                                         Executive Officer
 6
       Guy A . Davis                                                Davis                Plaintiffs' Expert
 7                                                                                       Accountant
 8     Ike Lawrence Epstein                                         Epstein              Zuffa,LLC:
 9
                                                                                         Senior Vice
                                                                                         President and
10                                                                                       General Counsel;
                                                                                         30(b)(6) designee
11                                                                                       for Promoter
                                                                                         Acquisitions
12
                                                                                         Topics
13
       Lorenzo Fe11itta                                             Fe11itta             Zuffa,LLC:
14                                                                                       Founder, Fo1mer
                                                                                         Owner and Chief
15                                                                                       Executive Officer

16     Jon Fitch                                                    Fitch                Named Plaintiff
17
       Drew Goldman                                                 Goldman              Deutsche Bank:
18                                                                                       Rule 30(b)(6)
                                                                                         designee
19
       Kirk Hend1ick                                                Hendiick             Zuffa, LLC:
20                                                                                       Executive Vice
                                                                                         President and Chief
21
                                                                                         Legal Officer; Rule
22
                                                                                         30(b)(6) designee
                                                                                         for Fighter
23                                                                                       Contract Topics

24     Kyle Kingsbmy                                                Kingsbmy             Named Plaintiff

25     Shannon Knapp                                                Knapp                Invicta Fighting
                                                                                         Championship:
26
                                                                                         Founder and
27                                                                                       President

28
                                                     V
                                                                               Case No.: 2:15-cv-0 1045-RFB-{PAL)
                       PLAINTIFFS' OPPPOSITION 10 ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                        Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 6 of 64



 1
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      Individuals (continued)                                            Abbreviation       Organization/Title
 2
          Jeremy Lappen                                                  Lappen             ProElite (Parent
 3                                                                                          Company of
                                                                                            EliteXC):
 4                                                                                          President of Fight
                                                                                            Operations·
 5
                                                                                            World Fighting
 6                                                                                          Alliance (WFA):
                                                                                            F01mer Chief
 7                                                                                          Executive Officer
 8
          Dr. Alan Manning                                               Manning            Plaintiffs ' Expert
 9                                                                                          Economist

10        John Mulkey                                                    Mulkey             Zuffa, LLC:
                                                                                            F01mer Chief
11                                                                                          Financial Officer
12        Kmi Otto                                                       Otto               International
13                                                                                          Fight League
                                                                                            (IFL): Founder and
14                                                                                          President

15        Nathan Quany                                                   Quany              Named Plaintiff

16        Sean Shelby                                                    Shelby             Zuffa, LLC: Vice
                                                                                            President of Talent
17
                                                                                            Relations and
18                                                                                          Matchmaker for
                                                                                            UFC
19
          Joseph Silva                                                   Silva              Zuffa, LLC:
20                                                                                          Fo1mer Executive
                                                                                            Senior Vice
21                                                                                          President of Talent
22                                                                                          Relations and
                                                                                            Matchmaker for
23                                                                                          UFC

24        Dr. Hal Singer                                                 Singer             Plaintiffs ' Expe1i
                                                                                            Economist
25
          Dr. Robert Topel                                               Topel              Zuffa, LLC:
26
                                                                                            Economist
27

28
                                                         VI
                                                                                  Case No.: 2:15-cv-01045-RFB-(PAL)
                           PLAINTIFFS ' OPPPOSIDON TO ZUFFA' S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 7 of 64



 1
     ,_
                                                                                                             -
      Individuals (continued)                                          Abbreviation      Organization/Title
 2
          Dana White                                                   White             Zuffa, LLC:
 3                                                                                       President

 4        Brandon Vera                                                 Vera              Named Plaintiff

 5        Dr. Andrew Zimbalist                                         Zimbalist         Plaintiffs ' Expe1i
                                                                                         Economist
 6

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                                                                               Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS ' OPPPOSIDON TO ZUFFA' S MOTION FOR SUMMARY JUDGMENT
                                           Public Version (Redacted)
            Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 8 of 64



 1                                                            TABLE OF CONTENTS

 2   I.        INTRODUCTION ............................................................................................................. 1

 3   II.       COUNTERSTATEMENT OF FACTS ............................................................................. 3

 4             A.        MMA Promoters Require a Critical Mass of Marquee Fighters to Challenge
                         Zuffa ....................................................................................................................... 3
 5
                         i.         Marquee Fighters Are the Principal Driver of MMA Promoter
 6                                  Revenues. ................................................................................................... 3

 7                       ii.        A Critical Mass of Top Fighters Is Necessary to Compete with Zuffa...... 4

 8             B.        Zuffa’s Anticompetitive Scheme Was Designed to Lock in Current and Potential
                         Top Fighters to Exclusive Contracts for the Most Valuable Parts of Their
 9                       Careers ................................................................................................................... 6

10                       i.         Exclusive Fighter Contracts Restricted Fighter Mobility. ......................... 6

11                       ii.        Zuffa Leveraged its Market Power to Extend Exclusivity. ........................ 7

12                       iii.       Zuffa’s 2006-2011 Buyouts Shuttered Rivals and Locked in More
                                    Fighters....................................................................................................... 9
13
               C.        Zuffa’s Scheme Substantially Impaired Competition .......................................... 11
14
                         i.         Zuffa’s Scheme Succeeded in Locking up the Vast Majority of Top
15                                  Fighters..................................................................................................... 11

16                       ii.        Zuffa’s Scheme Deprived Promoters of a Key Input: A Critical Mass of
                                    Top Fighters. ............................................................................................ 12
17
                         iii.       Zuffa’s Scheme Relegated Other Promoters to Feeder or Minor
18                                  Leagues. ................................................................................................... 12

19                       iv.        Zuffa Has Had No Direct Competition. ................................................... 14

20             D.        Zuffa’s Scheme Caused Anticompetitive Effects ................................................ 16

21                       i.         The Scheme Suppressed Fighter Compensation. ..................................... 16

22                       ii.        The Scheme Reduced the Quality of MMA Events. ................................ 17

23                       iii.       The Scheme Suppressed Marketwide Output of MMA Events and
                                    Inflated Prices. ......................................................................................... 17
24
               E.        Zuffa’s Scheme Had No Procompetitive Effects ................................................. 18
25
     III.      LEGAL STANDARD ...................................................................................................... 18
26
     IV.       ARGUMENT ................................................................................................................... 19
27
               A.        Plaintiffs Properly Define Input and Output Markets .......................................... 20
28
                                                                                viii
                                                                                                                     Case No.: 2:15-cv-01045-RFB-(PAL)
                                PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                            Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 9 of 64



 1                     i.         Dr. Singer’s Relevant Input Market Is Supported by Substantial
                                  Evidence. .................................................................................................. 20
 2
                       ii.        Dr. Singer’s Output Market Is Supported by Substantial Evidence. ....... 26
 3
             B.        Plaintiffs Have Shown Zuffa’s Monopsony Power and its Anticompetitive
 4                     Effects .................................................................................................................. 28

 5           C.        Direct Evidence Establishes Zuffa’s Monopsony Power ..................................... 29

 6                     i.         Zuffa Suppressed Fighters’ Wages. ......................................................... 29

 7                     ii.        Zuffa Restricted the Output of Fighter Services. ..................................... 31

 8                     iii.       Zuffa Excluded Rivals. ............................................................................ 32

 9           D.        Circumstantial Evidence Demonstrates Zuffa’s Monopsony Power ................... 32

10           E.        Zuffa Has Engaged in Exclusionary Anticompetitive Conduct ........................... 33

11                     i.         Zuffa’s Exclusive Contracts Substantially Foreclosed Competition. ...... 33

12                     ii.        Zuffa’s Acquisitions and Coercion Harmed Competition. ...................... 37

13           F.        Zuffa Has Not Shown Its Exclusive Contracts Had Procompetitive Effects ....... 39

14           G.        Zuffa Irrelevantly Addresses a Predatory Hiring Claim that Plaintiffs Do Not
                       Assert ................................................................................................................... 41
15
             H.        Zuffa’s Monopoly Power Contributed to its Monopsony Power ......................... 41
16
             I.        Direct Evidence Establishes Zuffa’s Monopoly Power ....................................... 43
17
             J.        Plaintiffs Support their Identity Class Claim with Admissible Evidence ............ 45
18
             K.        Plaintiffs Have Standing to Seek Injunctive Relief ............................................. 45
19
     V.      CONCLUSION. ............................................................................................................... 45
20

21

22

23

24

25

26

27

28
                                                                              ix
                                                                                                                  Case No.: 2:15-cv-01045-RFB-(PAL)
                              PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                          Public Version (Redacted)
        Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 10 of 64



 1                                                       TABLE OF AUTHORITIES

 2
     Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP,
 3     592 F.3d 991 (9th Cir. 2010)................................................................................................................37
 4
     Am. Ad. Mgmt. Inc. v. Gen. Tel. Co. of Cal.,
 5     190 F.3d 1051 (9th Cir. 1990)..............................................................................................................30

 6   Am. Express Travel Related Servs. Co. v. Visa U.S.A.,
       No. 04-cv-8967, 2005 WL 1515399 (S.D.N.Y. June 23, 2005) ..........................................................36
 7

 8   Am. Prof’l Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal & Prof’l Publications, Inc.,
       108 F.3d 1147 (9th Cir. 1997)..........................................................................................................1, 41
 9
     Ass’n for Intercollegiate Athletics for Women v. NCAA,
10     558 F. Supp. 487 (D.D.C. 1983) ..........................................................................................................23
11   Balaklaw v. Lovell,
12     14 F.3d 793 (2d Cir. 1994).............................................................................................................38, 39

13   Bhan v. NME Hosps., Inc.,
       929 F.2d 1404 (9th Cir. 1991)..............................................................................................................19
14
     Boardman v. Pac. Seafood Grp.,
15
       822 F.3d 1011 (9th Cir. 2016)..............................................................................................................38
16
     Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp.,
17     509 U.S. 209 (1993) .............................................................................................................................44

18   Brown v. City of Los Angeles,
       521 F.3d 1238 (9th Cir. 2008)..............................................................................................................19
19

20   Cal. Dental Assoc. v. FTC,
       526 U.S. 756 (1999) .............................................................................................................................27
21
     Celotex Corp. v. Catrett,
22     477 U.S. 317 (1986) .............................................................................................................................19
23
     Chicago Bd. of Trade v. United States,
24     246 U.S. 231 (1918) .............................................................................................................................44

25   Church & Dwight Co. v. Mayer Labs., Inc.,
       868 F. Supp. 2d 876 (N.D. Cal. 2012) .................................................................................................45
26

27   City of Vernon v. S. Cal. Edison Co.,
       955 F.2d 1361 (9th Cir. 1992)..............................................................................................................20
28
                                                                              x
                                                                                                                Case No.: 2:15-cv-01045-RFB-(PAL)
                               PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                           Public Version (Redacted)
        Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 11 of 64



 1   Clarett v. NFL,
       306 F. Supp. 2d 379 (S.D.N.Y. 2004) ..................................................................................................23
 2
     Costco Wholesale Corp. v. Maleng,
 3
       522 F.3d 874 (9th Cir. 2008)................................................................................................................33
 4
     Dial Corp. v. News Corp.,
 5     165 F. Supp. 3d 25 (S.D.N.Y. 2016) ..............................................................................................36, 37
 6   Doe v. Arizona Hosp. & Healthcare Ass’n, (“Ariz. Nurses”),
       No. 07-cv-1292, 2009 WL 1423378 (D. Ariz. Mar. 19, 2009) ......................................................30, 31
 7

 8   E. Food Servs., Inc. v. Pontifical Catholic Univ. Servs. Ass’n,
        357 F.3d 1 (1st Cir. 2008) ....................................................................................................................37
 9
     Eastman Kodak Co. v. Image Technical Services, Inc.,
10     504 U.S. 451 (1992) .............................................................................................................................45
11
     Eisenberg v. Ins. Co. of N. Am.,
12     815 F.2d 1285 (9th Cir. 1987)..............................................................................................................19

13   Ferguson v. Greater Pocatello Chamber of Commerce, Inc.,
       848 F.2d 976 (9th Cir. 1988)................................................................................................................37
14

15   FTC v. Ind. Fed’n of Dentists,
       476 U.S. 447 (1986) .............................................................................................................................27
16
     FTC v. Motion Picture Adver. Serv. Co.,
17     344 U.S. 392 (1953) .............................................................................................................................36
18   FTC v. Staples,
19     970 F. Supp. 1066 (D.D.C. 1997) ........................................................................................................25

20   FTC v. Whole Foods Mkt., Inc.,
       548 F.3d 1028 (D.C. Cir. 2008) ...........................................................................................................25
21
     Gen. Bus. Sys. v. N. Am. Phillips Corp.,
22
       699 F.2d 965 (9th Cir. 1983)................................................................................................................37
23
     Golden Boy Promotions LLC v. Haymon,
24     No. 15-cv-3378, 2017 WL 460736 (C.D. Cal. Jan. 26, 2017) .................................................23, 24, 37

25   Haagen-Dazs Co. v. Dble. Rainbow Gourmet Ice Creams., Inc.,
       895 F.2d 1417 (9th Cir. 1990)..............................................................................................................39
26

27

28
                                                                              xi
                                                                                                                Case No.: 2:15-cv-01045-RFB-(PAL)
                               PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                           Public Version (Redacted)
        Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 12 of 64



 1   Heerwagen v. Clear Channel Commc’ns,
       435 F.3d 219 (2d Cir. 2006).................................................................................................................28
 2
     Hynix Semiconductor Inc. v. Rambus, Inc.,
 3
       Nos. 00-cv-20905, 05-cv-334, 05-cv-2298, 06-cv-244, 2008 WL 73689 (N.D. Cal. Jan. 5, 2008) ....24
 4
     Image Tech. Servs., Inc. v. Eastman Kodak Co.,
 5     903 F.2d 612 (9th Cir. 1990)................................................................................................................37
 6   Image Tech. Servs., Inc. v. Eastman Kodak Co.,
       125 F.3d 1195 (9th Cir. 1993)........................................................................................................33, 40
 7

 8   In re Apple iPod iTunes Antitrust Litig.,
        796 F. Supp. 2d 1137 (N.D. Cal. 2011) ...............................................................................................45
 9
     In re Beef Antitrust Litig.,
10      907 F.2d 510 (5th Cir. 1990)................................................................................................................32
11
     In re Dealer Management Sys. Antitrust Litig.,
12      313 F. Supp. 3d 931 (N.D. Ill. 2018) ...................................................................................................31

13   In re Ebay Seller Antitrust Litig.,
        No. 07-cv-1882, 2010 WL 760433 (N.D. Cal. Mar. 4, 2010) .......................................................43, 45
14

15   In re High-Tech Employee Antitrust Litig.,
        856 F. Supp. 2d 1103 (N.D. Cal. 2012) ....................................................................................... passim
16
     In re Lal,
17      No. 01-cv-1507, 2002 WL 449661 (N.D. Cal. Mar 15, 2002) ............................................................19
18   In re Live Concert Antitrust Litig.,
19      863 F. Supp. 2d 966 (C.D. Cal. 2012) .................................................................................................21

20   In re NCAA Ath. Grant-In-Aid Cap Antitrust Litig.,
        No. 14-md-2541, 2018 WL 1524005 (N.D. Cal. Mar. 28, 2018) ........................................................19
21
     In re NCAA Ath. Grant-In-Aid Cap Antitrust Litig. (“Grant-In-Aid II”),
22
        No. 14-md-2541, 2018 WL 4241981 (N.D. Cal. Sept. 3, 2018)..........................................................22
23
     In re NCAA I-A Walk-on Football Players Litig.,
24      398 F. Supp. 2d 1144 (W.D. Wash. 2005) .....................................................................................23, 27

25   Int’l Boxing Club of N.Y., Inc. v. U.S.,
        358 U.S. 242 (1959) .................................................................................................................22, 28, 36
26

27   It’s My Party, Inc. v. Live Nation, Inc.,
        811 F.3d 676 (4th Cir. 2016)................................................................................................................39
28
                                                                            xii
                                                                                                             Case No.: 2:15-cv-01045-RFB-(PAL)
                               PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                          Public Version (Redacted)
        Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 13 of 64



 1   Knevelbaard Dairies v. Kraft Foods, Inc.,
       232 F.3d 979 (9th Cir. 2000)................................................................................................................41
 2
     Le v. Zuffa, LLC,
 3
       216 F. Supp. 3d 1154 (D. Nev. 2016) .......................................................................................... passim
 4
     Luria Bros. & Co. v. Federal Trade Commission,
 5     389 F.2d 847 (3d Cir. 1968).................................................................................................................34
 6   Magnetar Techs. Corp. v. Intamin, Ltd.,
      801 F.3d 1150 (9th Cir. 2015)..............................................................................................................30
 7

 8   Masimo Corp. v. Tyco Health Care Grp. L.P.,
      No. 02-cv-4770, 2006 WL 1236666 (C.D. Cal. Mar. 22, 2006) ..........................................................35
 9
     Mazda v. Carfax, Inc.,
10    No. 13-cv-2680, 2016 WL 7231941 (S.D.N.Y. Dec. 9, 2016) ............................................................34
11
     McGlinchy v. Shell Chem. Co.,
12    845 F.2d 802 (9th Cir. 1988)................................................................................................................20

13   McNeil v. Nat’l Football League,
      790 F. Supp. 871 (D. Minn. 1992) ...........................................................................................23, 28, 42
14

15   Mercatus Grp., LLC v. Lake Forest Hosp.,
      641 F.3d 834 (7th Cir. 2011)................................................................................................................41
16
     Methodist Health Servs. Corp., v. OSF Healthcare Sys.,
17    859 F.3d 408 (7th Cir. 2017)................................................................................................................37
18   Midwest Radio Co. v. Forum Pub. Co.,
19     942 F.2d 1294 (8th Cir. 1991)..............................................................................................................41

20   NCAA v. Bd. of Regents of the Univ. of Okla.,
      468 U.S. 85 (1984) .........................................................................................................................28, 44
21
     Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc.,
22
       210 F.3d 1099 (9th Cir. 2000)..............................................................................................................19
23
     Nobody in Particular Presents, Inc. v. Clear Channel Commc’ns., Inc.,
24     311 F. Supp. 2d 1048 (D. Colo. 2004) ...........................................................................................24, 25

25   O’Bannon v. NCAA,
       7 F. Supp. 3d 955 (N.D. Cal. 2014) .....................................................................................................23
26

27   O’Bannon v. NCAA,
       802 F.3d 1049 (9th Cir. 2015)...................................................................................................... passim
28
                                                                            xiii
                                                                                                              Case No.: 2:15-cv-01045-RFB-(PAL)
                               PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                          Public Version (Redacted)
        Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 14 of 64



 1   Ohio v. American Express Co.,
       138 S. Ct. 2274 (2018) .........................................................................................................................22
 2
     Omega Envtl v. Gilbarco, Inc.,
 3
      127 F.3d 1157 (9th Cir. 1997)..............................................................................................................37
 4
     Ostrofe v. H.S. Crocker Co., Inc.,
 5     740 F.2d 739 (9th Cir. 1984)................................................................................................................31
 6   Paladin Assocs. v. Montana Power Co.,
       328 F.3d 1145 (9th Cir. 2003)..............................................................................................................24
 7

 8   Philadelphia World Hockey Club, Inc. v. Philadelphia Hockey Club, Inc.,
       351 F. Supp. 462 (E.D. Pa. 1972) ........................................................................................................23
 9
     Pro Search Plus, LLC v. VFM Leonardo, Inc.,
10     No. 12-cv-2102, 2013 WL 6229141 (C.D. Cal. Dec. 2, 2013) ............................................................37
11
     Procaps S.A. v. Patheon Inc.,
12     141 F. Supp. 3d 1246 (S.D. Fla. 2015) ................................................................................................44

13   Race Tires Am. Inc. v. Hoosier Racing Tire Corp.,
       614 F.3d 57 (3d Cir. 2010).............................................................................................................39, 40
14

15   Rebel Oil Co v. Atlantic Richfield Co.,
       51 F.3d 1421 (9th Cir. 1995)........................................................................................................ passim
16
     Rock v. NCAA,
17     No. 1:12-cv-1019, 2013 WL 4479815 (S.D. Ind. Aug. 16, 2013) .......................................................22
18   Simpson v. Lear Astronics Corp.,
19     77 F.3d 1170 (9th Cir.1995).................................................................................................................19

20   SMS Sys. Maint. Servs., Inc. v. Digital Equip. Corp.,
       188 F.3d 11 (1st Cir. 1999) ..................................................................................................................27
21
     Spanish Broad. Sys. of Fla., Inc. v. Clear Channel Commc’ns, Inc.,
22
       376 F.3d 1065 (11th Cir. 2004)............................................................................................................44
23
     St. Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd.,
24      778 F.3d 775 (9th Cir. 2015)................................................................................................................24

25   Sterling Merch, Inc. v. Nestle, S.A.,
        656 F.3d 112 (1st Cir. 2011) ................................................................................................................38
26

27   Tampa Electric Co. v. Nashville Coal Co.,
       365 U.S. 320 (1961) .............................................................................................................................37
28
                                                                             xiv
                                                                                                                Case No.: 2:15-cv-01045-RFB-(PAL)
                               PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                           Public Version (Redacted)
        Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 15 of 64



 1   Taylor Pub. Co. v. Jostens, Inc.,
       216 F.3d 465 (5th Cir. 2000)................................................................................................................41
 2
     Telecor Communications, Inc. v. Sw. Bell Tele. Co.,
 3
       305 F.3d 1124 (10th Cir. 2002)............................................................................................................41
 4
     Theme Promotions, Inc. v. News Am. Marketing,
 5     546 F.3d 991 (9th Cir. 2008)................................................................................................................31
 6   Ticketmaster Corp. v. Tickets.com, Inc.,
       No. 99-cv-7654, 2003 WL 21397701 (C.D. Cal. 2003) ......................................................................37
 7

 8   Todd v. Exxon Corp.,
       275 F.3d 191 (2d Cir. 2001).....................................................................................................20, 24, 25
 9
     Total Renal Care, Inc. v. W. Nephrology & Metabolic Bone Disease, P.C.,
10     No. 08-cv-513, 2009 WL 2596493 (D. Colo. Aug. 21, 2009) .............................................................41
11
     Twin City Sportservice v. Charles O. Finley & Co.,
12     676 F.2d 1291 (9th Cir. 1982)...................................................................................................... passim

13   United States v. Int’l Boxing Club of N.Y., Inc.,
       171 F. Supp. 841 (S.D.N.Y. 1957).......................................................................................................36
14

15   United States v. Int’l Boxing Club, Inc.,
       150 F. Supp. 397 (S.D.N.Y. 1957).......................................................................................................36
16
     United States v. Syufy Enterprises,
17     903 F.2d 659 (9th Cir. 1990)..........................................................................................................37, 38
18   United States v. Boyce,
19     148 F. Supp. 2d 1069 (S.D. Cal. 2001) ................................................................................................19

20   United States v. Dentsply,
       399 F.3d 181 (3d Cir. 2005)......................................................................................................... passim
21
     Universal Analytics, Inc. v. MacNeal-Schwendler Corp.,
22
       914 F.2d 1256 (9th Cir. 1990)..............................................................................................................41
23
     Verizon Communications Inc. v. Law Office of Curtis V. Trinko, LLP,
24     540 U.S. 398 (2004) .......................................................................................................................30, 31

25   Weyerhauser Co. v. Ross-Simmons Hardwood Lumber Co.,
      549 U.S. 312 (2007) .............................................................................................................................38
26

27   White v. NCAA,
      No. 05-cv-999, 2006 WL 8066803 (C.D. Cal. Oct. 19, 2006).............................................................30
28
                                                                             xv
                                                                                                               Case No.: 2:15-cv-01045-RFB-(PAL)
                               PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                           Public Version (Redacted)
        Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 16 of 64



 1   Wichita Clinic, P.A. v. Columbia/HCA Healthcare Corp.,
       45 F. Supp. 2d 1164 (D. Kan. 1999) ....................................................................................................41
 2
     Yeager’s Fuel, Inc. v. Pa. Power & Light Co.,
 3
       953 F. Supp. 617 (E.D. Pa. 1997) ........................................................................................................36
 4
     ZF Meritor, LLC v. Eaton Corp.,
 5     696 F.3d 254 (3d Cir. 2012).................................................................................................................37
 6   Rules
 7   9th Cir. R. 36-3(c) ....................................................................................................................................39
 8
     Fed. R. Civ. P. 56 .....................................................................................................................................19
 9

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                                                                               xvi
                                                                                                                   Case No.: 2:15-cv-01045-RFB-(PAL)
                                PLAINTIFFS’ OPPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                             Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 17 of 64



 1   I. INTRODUCTION
 2          Although Zuffa has raised a scattershot set of issues in moving for summary judgment, the

 3   parties generally agree on the basic legal framework. Plaintiffs can establish their claim under Section 2

 4   of the Sherman Act by showing that Zuffa: (i) had monopoly (or monopsony) power; (ii) acquired or

 5   maintained its monopoly (or monopsony) power through exclusionary conduct; and (iii) caused

 6   Plaintiffs antitrust injury. Le v. Zuffa, LLC, 216 F. Supp. 3d 1154, 1161 (D. Nev. 2016) (quoting Am.

 7   Prof’l Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal & Prof’l Publications, Inc., 108 F.3d

 8   1147, 1151 (9th Cir. 1997)); Zuffa’s Motion for Summary Judgment, ECF No. 573 (“MSJ”) 13.

 9          Extensive evidence satisfies each of the three elements. The record shows: (1) Zuffa had

10   monopoly and monopsony power as the dominant MMA promoter—that is, Zuffa was the only

11   promoter that could sell “major league” live MMA events broadcast in North America and the only

12   promoter that could hire MMA fighters (“Fighters”) to compete in “major league” MMA events; (2)

13   Zuffa willfully acquired and maintained monopoly and monopsony power through exclusionary

14   conduct, including locking Fighters into long-term, exclusive contracts (the “Exclusive Contracts”),

15   coercing Fighters to enter and extend those Exclusive Contracts, and acquiring other MMA promoters

16   that threatened the UFC’s dominance (together, the “Scheme”); and (3) Zuffa used its monopsony

17   power to suppress the compensation it paid its Fighters below competitive levels (and its monopoly

18   power to decrease the supply and inflate the prices of MMA events ).

19          Critically, Zuffa’s arguments throughout its motion rely on two assumptions that are

20   demonstrably wrong—or, at the least, give rise to genuine issues of material fact. First, Zuffa pretends

21   that all Fighters are equivalent—that retaining the champion in a weight class matters no more for the

22   market power of a promoter than a Fighter competing at the margins of the sport. So, for example,

23   Zuffa claims that it controlled only a modest share of the market for Fighter services, based solely on

24   the raw number of Fighters it had under contract, if one counts the top 650 ranked Fighters in each

25   weight class as if they all were equivalent. But that is untenable. The evidence shows the top-ranked

26   Fighter matters far more for market power than the tenth-ranked Fighter, and far, far more than the

27   hundredth-ranked Fighter. Taking that reality into account, Zuffa’s exclusive control over top Fighters

28   and its ability to deprive potential competitors of a critical mass of those top Fighters gave it market
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                                                                                  Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
         Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 18 of 64



 1   power. Zuffa’s own economist conceded, “

 2                                                 ” Topel Tr. 440:12-441:10, and Zuffa itself admitted that

 3

 4                                                              . SR1 ¶¶159-60 (quoting Zuffa documents).

 5           Second, Zuffa asserts it faces competition because other promoters host MMA events. But that

 6   conflicts with Zuffa’s admissions that it is the “major league” of MMA. As Dana White, Zuffa’s

 7   President, stated, “

 8

 9                          ” SR1 ¶106 (quoting Ex.89). Or, as he put it more bluntly, “

10                                 ” SR1 ¶137. Ample evidence confirms Zuffa’s Scheme deprived its potential

11   competitors of a critical mass of marquee Fighters, rendering them “minor leagues.” In MMA, athletes

12   obtain fame by competing against ranked opponents, ascending the rankings, and vying for titles. By

13   acquiring all potential competitors and signing virtually all top Fighters to Exclusive Contracts, Zuffa

14   left the top Fighters and aspiring top Fighters with nowhere else to go. Lorenzo Fertitta, Zuffa’s former

15   CEO, explained, “When you look at the top 10 in every division, we’ve got every fighter under our

16   umbrella. All the fighters want to be with us because they want to fight the best competition. So from

17   that standpoint . . . the competition isn’t really relevant.” PRFA No. 32.

18           Zuffa’s motion also relies on another dubious claim: that it is solely responsible for the growth

19   of MMA. Evidence shows that this claim is more myth than reality. Infra n.55. But its crucial weakness

20   is its lack of legal relevance. Successful companies are no more exempt from antitrust law than they are

21   from the laws governing minimum wage or race or sex discrimination. 1 The relevant issues instead are

22   whether Zuffa (a) used anticompetitive exclusionary practices to acquire or maintain its dominant

23   market position, and (b) whether it would have paid Fighters more than it did absent the Scheme. The

24   overwhelming evidence shows it did abuse its market power. It also shows that without the Scheme,

25   Fighters would not have received the       % or less of Event Revenues—which Zuffa paid them—but

26   rather about 50% or more of revenues, just as athletes do in the NBA, NFL, MLB, and NHL. Those

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     1
      United States v. Dentsply, 399 F.3d 181, 196 (3d Cir. 2005) (“While we may assume that [defendant]
28   won its preeminent position by fair competition, that fact does not permit maintenance of its monopoly
     by unfair practices.”).
                                                         2                      Case No.: 2:15-cv-01045-RFB-(PAL)
                            PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                              Public Version (Redacted)
         Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 19 of 64



 1   leagues may well have contributed to the popularity of their respective sports. But after each eliminated

 2   the kind of conduct the UFC now uses to limit athlete mobility, competition for athletes’ services

 3   increased. So did athlete pay, the popularity of each sport, and revenues. If Zuffa stops violating federal

 4   antitrust law, the evidence shows its Fighters, the sport of MMA, and the public will all benefit.

 5   II. COUNTERSTATEMENT OF FACTS
 6       A. MMA Promoters Require a Critical Mass of Marquee Fighters to Challenge Zuffa
 7         i.        Marquee Fighters Are the Principal Driver of MMA Promoter Revenues.
 8              1.       Marquee Fighters are by far the most important input for MMA promoters because

 9   Fighters draw the audience—and therefore television deals and sponsors. 2 The UFC’s longtime

10   matchmaker Joe Silva testified that “it would devalue a promotion if the highest-level fighters in that

11   organization are taken away” because “the highest-level fighters in an MMA promotion are a

12   substantial component of the value of that organization.” J. Silva Tr. 330:2-10. 3

13              2.       Contrary to Zuffa’s claim that it is somehow relevant that Zuffa had a minority of “total

14   available athletes under contract,” ZSUF ¶36, Fighters are not fungible, see SR2 ¶¶23, 128-29, 140 &

15   n.499; SR4 ¶48, and thus merely counting up Zuffa’s raw share of “athletes under contract” with any

16   MMA promotion is irrelevant. Rather, as Zuffa’s economist admits, highly-ranked or better-known

17   Fighters generate more Event Revenues. See Topel Tr. 432:10-24, 450:8-451:5 (“some fighters are

18   more important to an MMA promotion than others;” “some fighters generate more revenues”); id. 36:7-

19   17 (“household names” more valuable); id. 431:2-7. Executives of Zuffa and other aspiring promoters

20   recognize this fact. Silva admitted, for instance, that “there is a group of fighters who, whether they’re

21   champions or not, . . . tend to separate themselves from the crowd as capable of being headliners;” and

22
     2
       SR1 ¶¶20, 113; SR2 ¶132; J. Silva Tr. 102:23-103:3 (Promoters “seek to populate the main events
23   with the biggest draws as fighters”); Lappen Tr. 136:4-13; id. 142:17-18; Coker Tr. 88:13-89:3; id.
     103:9-12.
24   3
       Kurt Otto, who ran a promotion that had aspirations of competing with the UFC, testified that the
     ability to retain and recruit well-known fighters is “the epitome of the sport” because “they put butts in
25   the seat . . . . It’s the gasoline to the engine. Without that, you have zero.” Otto Tr. 102:24-103:23.
     Zuffa’s internal documents, third party market analyses, and the testimony of Zuffa’s own economist
26   all confirm the central importance of marquee Fighters. SR1 ¶¶20, 156-164; Topel Tr. 242:7-243:1
     (“people like to watch quality fighters” and “the higher quality fighter the more revenues an event is
27   likely to generate” (discussing Ex.116)); id. 241:4-16; id. 418:24-419:9; Ex.119 at -52 (“
                                                           ”). Economists recognize that sport revenues rise with
28   the quality of the athletes. SR2 ¶¶89-102; SR3 ¶¶22-23; MR1 ¶¶6, 24-28, 31.

                                                              3                      Case No.: 2:15-cv-01045-RFB-(PAL)
                             PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 20 of 64



 1   "an event will have difficulty succeeding without these top-level headline fighters." J. Silva Tr. 331 :5-

 2   332:2. 4 Relative to Fighters, the promoter' s role is limited. 5

 3      ii.         A Critical Mass of Top Fighters Is Necessary to Compete with Zuffa.

 4             3.            Because Fighters are not fungible and because the top Fighters drive revenues, as Zuffa
                                                                                                                             6
 5   has conceded, a '                                        " is '-      " to stage live MMA events successfully.
 6   Zuffa 's economist also admitted, '

 7

 8                                       "Topel Tr. 440:12-441:IO;seealso SRI ~158.

 9             4.            Zuffa admits it has the '                           " under multi-bout exclusive

10   agreements-a baITier to entiy and expansion for other promoters. And its economist conceded that

11

12

13                                                                                   "Topel Tr. 435: 17-437:22. 7

14             5.            Promoters need a deep roster of talented Fighters to compete with Zuffa because:

15                   a. Given Zuffa's anticompetitive Scheme, a promoter must supply multiple pairings oftop

16   Fighters to sustain consumer interest. SRI ~156. Not all top Fighters can be matched against each other

17   because, inter alia, there are distinct weight classes, and repetitive pairings of the same top Fighters

18   would have decreasing utility. Id.; see also Silva Tr. 130: 18-131 :16; Hendrick 30(b)(6) Tr. 217: 17-

19   218:10.

20                   b. Only by having access to a broad stable of top Fighters can a promoter develop new top

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                     ; 1 .      enc10 r.
                                    ,                 op o e car        1   .ers are more va ua e ; c .
23       ,     ~132; Blair Tr. 18:7-14 ("fans are more willing to pay to watch . .. superstars").
       SRI ~28; SR3 mf22-23, 26-27, 33; SR4 ~~14, 16-17, 25, 40; TRI ~87; Topel Tr. 23:16-24:3, 24:20-
24   25:9, 36:24-37:13, 54:3-15, 55:12-56:4. Coker: "I believe the fighter is the key. They are number one in
     this industiy. And not everybody might believe that. They might believe that ... it 's the league, but I've
25   always felt that fighters were number one. And from there you have something to work with and
     something to build." Coker Tr. 88:13-24; id. 88:25-89:7.
26   6
       Ex.97 at-439· Ex.100 at-738 (same); see also Deutsche Bank 30(b)(6) Tr. 61:23-63:13 -
                                      ).
27                               - : x.88 at -347: Ex.45 at -154· Ex.44 at -613· Ex.92 at -384 admitting
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                                 PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                                     Public Version (Redacted)
         Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 21 of 64



 1   Fighters, as Fighters rise in the rankings only by defeating other top Fighters. SRI ,Il 57. As Silva put it,

 2
 3   -             ,, J. Silva Tr. 130:10-132:10; Ex.124 at -15. 8

 4                  c. In an environment in which Zuffa refuses, as paii of the Scheme, to co-promote events

 5   with other MMA promoters, 9 top Fighters an d aspiring top Fighters require a promoter to have a

 6   critical mass oftop Fighters. E.g. , Topel Tr. 431:8-13 ("the ability to develop their cai·eers by fighting

 7   against highly-ranked opponents" is "one of the reasons they [Fighters] sign up"); id. 434:9-15

 8   (Fighters "generally have an interest in competing against the best fighters" and customers "like that

 9   too" because putting "good fighters against each other" creates "more energy"); TRI ,I96. Zuffa

10   principal, Lorenzo Fertitta, made this clear: "[F]or any aspiring athlete that wants to become a fighter,

11   we're at the top of the food chain ... [T]heir goal is eventually to get to the UFC. So the talent pool is

12   kind of coming to us so we kind of have the pick of the best fighters that ai-e potentially out there." 10

13            6.        Zuffa concedes that by keeping top Fighters from other promoters the UFC will continue

14   to be'                                                              ." SRI ,I162. Zuffa's executives

15   acknowledge the importance of blocking other promoters' access to top Fighters to maintaining its

16   dominance. 11 In Febmary 2014, for example, after Lorenzo Feititta exercised a provision of Zuffa's

17   Exclusive Contracts to prevent top Fighter Gilbe1t Melendez from defecting to Bellator, Fe1titta wrote

18   to Dana White:'

19

20
     8
       PRFA No. 5 (Fedor Emelianenko, who was not with the UFC, could not be considered th e best
21   because "he's not going to fight anybody"); J. Silva Tr. 128:23: 129:11 ("I would like your guy to have
     more experience and have ex erience a ainst better eo le." .
22   9
       See White Tr. 154:5-8
                                       ; . 1 va r.                 a    mg a reason or no co-promo 10n
23   1s ue o concerns o a owmg other promoters to gain traction); Ex.128 at -702; Topel Tr. 296:4-9
     (same); SRI ,Il 7; see also SR211221 -26 (noting that non-Zuffa promoters routinely co-promote);
24   Topel Tr. 297:7-12 (admitting that non-Zuffa promoters engage in co-promotion).
     10
        PRFA 33; PRFA 32 (Fertitta: "All the fiohters want to be with us because the want to fioht the best
25   com etition." : Shelby Tr. 164: 11-13 ('
                        ");SRI ,i,r20, 100, 10 - ,     ,    ,    ,       ,          ,    ,      ,      ,
26       ee, e.g.,      162 (quoting Ex.55, Ex.72, Ex.76); id. n.424 (quoting Ex.58); J. Silva Tr. 315:23-
     317:8; Ex.131 at -82.
27   12
        Ex.134 Rows 1499-1502. See also Fe1titta Tr. 290:20-292:14. In another exam le. Joe Silva
28

                                                               5                   Case No.: 2:15-cv-01045-RFB-(PAL)
                            PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                                Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 22 of 64



 1     B. Zuffa's Anticompetitive Scheme Was Designed to Lock in Current and Potential Top
          Fighters to Exclusive Contracts for the Most Valuable Parts of Their Careers
 2       i.        Exclusive Fighter Contracts Restricted Fighter Mobility.
 3
              7.        Zuffa admits, ZSUF ,I12, all its Fighters are required to sign Exclusive Contracts. 13
 4
              8.        Zuffa also admits its Exclusive Contracts restrict Fighter mobility, preventing the best
 5   Fighters from moving to other promoters. See, e.g., Topel Tr. 75:6-19, 80:7-16, 78:20-79:1 (admitting
 6
     its Exclusive Contracts are "restrictions on athlete mobility"). 14 Zuffa restricts Fighter mobility through
 7   specific contractual provisions, such as:
 8
              a. The Exclusivity Clause prevents UFC Fighters from appearing for other promoters,
                 Hendrick 30(b)(6) Tr. 382:11-385 :23 & 376:25-377:13, and the better the Fighter, the
 9
                 longer the tenn. 1
10
              b.
11

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              c. The Exclusive Negotiation Clause gives Zuffa the exclusive right to negotiate with the
14               Fighter aft.er the "te1m," typically for 3 months. 18
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                                                              6                      Case No.: 2:15-cv-01045-RFB-(PAL)
                            PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                               Public Version (Redacted)
             Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 23 of 64



 1                 d. The Champions Clause gives Zuffa the right to extend the contract of a Fi hter who is the
                      champion of an; weight class at the end of the te1m                         . Ex. I 05 at -
 2                    912; SRI ,r69. 1

 3                 9.       Contrary to Zuffa's contention about the average Fighter career length, ZSUF ,r13, the

 4   effective te1m of Zuffa's Exclusive Contracts was longer than the average Fighter career. 20

 5                 10.      That ce11ain other MMA promoters may also have exclusivity provisions, ZSUF ,r16, is

 6   disputed and ilTelevant. It is disputed in that the other promoters' contracts contained significant

 7   exceptions to exclusivity, often allowing Fighters to compete in other organizations, including the

 8   UFC. SRI iMJ107, 135-36; SR2 ,r,r236-37. Fm1her, the other promoters'

 9                                                                                                   "SR2 ,r,r190,

10   236-37. Indeed, evidence shows that other promoters would have been willing to co-promote MMA

11   events, SR2 iMJ221-24, and

12   -                    · SR2 iMJ190, 194, 236 & n.756; Ex.59 at-802-03. 2 1

13           ii.        Zuffa Leveraged its Market Power to Extend Exclusivity.

14                 11.      Zuffa used its market power and negotiating leverage-including through coercion,

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20     ps em r.       : - ; . I va r.           - ;z.                ;z .     : - ;z .         : - ;z .     '
                                                                                                           :7-12;
     id. 412:25-413:22; id. 421:6-17; id. 426:6-12; id. 432:13-433 :16; id. 467:11-468:3 ; id. 469:7-470:22;
21   see also Ex. 90 at -69; Ex. 133· J. Silva Tr. 419:9-20· SRI 162 n.424· c. ZSUF 13.
22
     2
         °
        Compare SRI ,r89 & Tbl. 1
     with SR 2 ,r64 & Tbl. 1 (average u a Ig er career WI          u a IS     mon s w1 a me tan o . 2
     years; average in the Input Market (defmed below) only 0.38 to 1.33 years (4.56 months to 15.96
23   months) with median of 1.8 to 2.55 years (21.6 months to 30.6 months)); see also SR3 ,r45; SRI iMJ99-
     100, 104-107, 108-111 , 127; SR2 ,r24, 64-66. Zuffa's contention that the average career for athletes
24   who competed ill at least one Zuffa bout is 8.7 years, ZSUF ,r13, mischaracterizes those athletes'
     careers because the 8.7 figure includes " the po1tion of a Fighter's career spent ill the minor leagues
25   (which is comparable to including a professional athlete's time playing in high school and college when
     calculating the length of his or her professional career)," SR3 ,r45; see also id. (Topel's calculation
26   includes "bouts in extremely minor promotions that do not have a single athlete ranked between 1 and
     650 in any weight class").
27   21
        Further, restrictive provisions that may not be anticompetitive when engaged in by a non-dominant
     fnm are competitively destmctive when implemented by a fnm, like the UFC, with monopoly power.
28   SR2 ,r,r238-39, 190.

                                                                 7                     Case No.: 2:15-cv-01045-RFB-(PAL)
                                PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                                   Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 24 of 64



 1   threats, and aggressive contractual enforcement-to make its Exclusive Contracts effectively perpetual.

 2   See SRI ,r,r75-91; SR2 ,r,r58, 62-63, 67. For instance, Zuffa forced its Fighters to renegotiate before the

 3   end of the existing contract's te1m to prevent the Fighters from ever becoming free agents. Plaintiff

 4   Vera explained how this worked: "Eve1y time a fighter. .. is coming up on his renegotiation period, it

 5   was common knowledge in om industly that if you didn't sign the new agreement, that you were going

 6   to get frozen out or put on a dark show so that nobody would ever see yom last fight." Vera Tr. 118: 1-

 7   18. Zuffa President White conceded that "most guys never make it to the end of a UFC contract. They

 8   will get within three fights, and then we want to sit back down and staii talking, right, to keep them." 22

 9             12.    Zuffa would do any of the following to prevent a Fighter from reaching free agency:

10            a. Move Fighters to unfavorable placement on the fight card for an event 23 or impose
                 unfavorable matchups. 24 As White described in a 2013 inte1view: "I can tell you this man, If
11               you f***ing call [UFC matchmaker] Joe Silva and tum down a fight, you might as well say
                 f***ing rip up my contract. He's a mean little f***er. You don't call Joe Silva and tell him
12               you don't want to f***ing fight anybody man. You might as well just take the fight because
                 it' s going to be worse. You might as well just do it." PRFA No. 20; see also White Tr.
13               354:6-355:21; Ex.43; Ex. 57.

14            b. Control the timing of a bout (i.e. , refuse to offer Fighters bouts) for Fighters on the last
                 bout of their contract. That punishes them because they get paid only when they fight. SRI
15               ,r,r76-80. As Plaintiff Fitch testified, "If you don't get your bout agreement, you don't get
                 paid, you don't get money, you can't feed yom children."25
16
              c. Delay a Fighter from competing for another promoter through the Right to Match and
17               Exclusive Negotiation clauses. Those clauses prevent a Fi ter reaching the end of a
                 contract "te1m" from moving to another promoter for                     -an excessively long
18               period to sit out given that careers ai·e shoit and Fighters ge pat on y when they compete.
                 Zuffa uses this "compensation gap" to coerce more seasoned Fighters to sign new deals. 26
19
     22
          White Tr. 347:12-14· see also Ex.50 at -976
20

21

22
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24
                                          ; x.     ; . 1 va r.       : - ; x. a -
25       ee               ,          , atchvai·ova Tr. 36:7-11; Kingsbury Tr. 18:16-19:3; Ex.51; J. Silva Tr.
     401:2-19, 405:12-19; Ex.71 at -15.
26   24
        See SRI if77; Quany Tr. 47:23-25; Ex.51; J. Silva Tr. 401:2-19; Ex.58 at -748; Kingsbwy Tr. 116:1-
     119:24; Fitch Tr. 86:21-87:15; Ex,43; J. Silva Tr. 404:23-405:19, 426:6-12, 432:13-433:16, 126: 14-18.
27   25
        Fitch Tr. 119:6-120:11 ; id. 110:4-23. See also Vera Tr. 118:1-18; SR2 if61 & n.231 ; Hendrick
     30(b)(6) Tr. 265:5-267:13; Ex.123 ; J. Silva Tr. 228:19-21, 464:3-8; Ex.75 ; Ex.56.
28   26
        E.g., Fitch Tr. 119:6-23 ("[I]fl didn't sign up, ifl didn't re-up with the contract, I wouldn't have

                                                           8                      Case No.: 2:15-cv-01045-RFB-(PAL)
                          PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                             Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 25 of 64



 1                  The Right to Match and Exclusive Negotiation Clauses, along with the Champions Clause,
                    were effective threats, ensuring that Zuffa rarely needed to enforce them fo1mally. 27
 2
              d. Deprive Fighters of title opportunities. Zuffa's control over title fights gave it leverage
 3               over contract length and pay because, due to the Scheme, the UFC offers the only titles
                 that matter in MMA. E.g., Ex.50 at -76; Ex.121; Ex.79 at -65; SRI ,r79; Fitch Tr. 222:3-23 ;
 4               Kingsbury Tr. 51: 12-22, 96: 17-19, 142:12-143:2. Zuffa also refosed to offer bouts for
                 c~ampionship titles unless the Fi~ters w                                                 2 (J.
 5

 6

 7     iii.     Zuffa's 2006-2011 Buyouts Shuttered Rivals and Locked in More Fighters.

 8            13.      From 2006-2011 , Zuffa enhanced its dominance by acquiring any potential competitor

 9   that could have posed a threat, and locked in those promoters' top Fighters to exclusive deals.

10            14.      In 2006, Zuffa acquired WEC, which featured top Fighters in lighter weight classes.

11   Epstein 30(b)(6) Tr. 28:20-25, 33:14-20; SRI ,r,r41-42. Zuffa ultimately merged WEC into the UFC. 28

12   Also in 2006, Zuffa acquired World Fighting Alliance ("WFA") as a'

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15            15.      In 2007, Zuffa acquired its then-most significant competitor, PRIDE Fighting

16   Championship. 30

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27                                                                                  . Ex.65 at 12; see also
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                                                           9                      Case No.: 2:15-cv-01045-RFB-(PAL)
                           PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                             Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 26 of 64



 1        . See Ex.111 at -140. Zuffa’s PRIDE acquisition had a “

 2

 3                                                        ” Ex.83 at -44. Lorenzo Fertitta stated that “this

 4   transaction advances Pride and the UFC way beyond and light years ahead of any other MMA

 5   organization.” PRFA No. 4. Ultimately, Zuffa shut down PRIDE. White Tr. 167:13-18. After the

 6   acquisition, White bragged: “look at all the contracts we got from Pride and all the guys that came

 7   over[.]” Id. 313:6-10; Id. 167:24-168:13 (“Pride is dead, dummy. I killed them.”).

 8               16.   In 2009,

 9                                   . See Ex.61 at -50-51; SR1 ¶¶44-46. On July 24, 2009, Zuffa’s Mersch

10   wrote: “

11                                                                                                        ”

12   Ex.62.

13               17.   In the wake of these acquisitions, Strikeforce began to amass a roster of top Fighters.

14   Ex.67 at -19-20. Strikeforce’s head, Scott Coker, testified, “In 2009 and ’10, we [Strikeforce] had more

15   top 10 rated heavyweights than the UFC did. So arguably we had a better heavyweight division than

16   [UFC] did.” Coker Tr. 105:23-25. After Zuffa acquired Affliction, Coker wrote:

17

18

19                                                                           ” Ex.68 at -04. By 2011,

20   Strikeforce had emerged as the “

21          ” Ex.67 at -06; SR1 ¶47; Coker Tr. 103:17-24; Epstein 30(b)(6) Tr. 170:4-7; J. Silva Tr. 173:4-
                                                                                                        31
22   10; id. at 316:15-18.                                                                                   In

23   January 2011,

24        . 32

25               18.   When Zuffa acquired Strikeforce in March 2011,

26

27   31
        White Tr. 214:4-220:20; Epstein 30(b)(6) Tr. 170:22-171:14; J. Silva Tr. 316:9-14; id. 173:22-25.
     32
        See White Tr. 228:12-233:20; J. Silva Tr. 156:25-172:10; Ex.126. Fertitta told Coker that he thought
28   “Strikeforce [was] building a great brand, but we feel there should only be one brand, so we would like
     to buy your company.” Coker Tr. 118:10-23.
                                                         10                     Case No.: 2:15-cv-01045-RFB-(PAL)
                           PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                              Public Version (Redacted)
         Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 27 of 64



 1   -                ' SRI ,r,r47-50, and in light of its Scheme, closed the door on the possibility ofreal

 2   competition going fo1ward. Coker testified that after the acquisition, a "lot of people were disappointed

 3   ... [b]ecause you now had managers call [Coker] and say: Now om [Fighters'] purses are going to go

 4   down. Now there's only one buyer [for MMA talent] and it's not going to be good for MMA as an

 5   industry." Coker Tr. 135: 10-19. Managers later confnmed to Coker that Fighter pmse offers decreased

 6   by about 20%. Id. 137:14-21.

 7       C. Zuffa's Scheme Substantially Impaired Competition

 8         i.    Zuffa's Scheme Succeeded in Locking up the Vast Majority of Top Fighters.

 9              19.      Zuffa used its Exclusive ContI·acts and dominant market power to prevent top Fighters

10   from becoming free agents, foreclosing other promoters' access to a sufficient stable oftop Fighters.33

11              20.      Zuffa's supposed evidence of Fighter mobility, ZSUF ,r,r2 1-25, merely reflects that the

12   UFC is the "major league" of MMA and cuts Fighters who do not meet its standard. See SRI ,r,rI07,

13   136. As the Raine Group, who analyzed the market for Zuffa, explained, '

14                                                                                ." Ex. 113 at -94. Zuffa 's Silva

15                                                                                                                    "
16

17

18                                                                   ); Ex. 66.35 Zuffa's Scheme allowed it to lock

19   in the vast majority of top Fighters. Silva bragged to White, '                      ," listing the consensus

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                                                               11                      Case No.: 2:15-cv-01045-RFB-(PAL)
                             PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                                 Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 28 of 64



 1   rankings and showing that Zuffa controlled a high ratio of top-ranked Fighters in each weight class. See

 2   Ex.84; J. Silva Tr. 156:25-172:10 (discussing document). 36

 3               21.   Dr. Singer shows that Zuffa foreclosed a large and increasing share of Fighters,

 4   including Headliners (Fighters ranked in the top 15 of their weight class). SR1 ¶173 & Fig. 3; see SR1

 5   ¶¶167-73; id. ¶¶306-09. By 2017, Zuffa had foreclosed                         of Fighters in the relevant

 6   markets and between            percent of Headliners. SR1 ¶¶128-29, 167-73 & Fig. 3.

 7        ii.     Zuffa’s Scheme Deprived Promoters of a Key Input: A Critical Mass of Top Fighters.
 8               22.   By locking up the “                            ,” the Scheme blocked potential

 9   competitors from entering or expanding. WME, which purchased Zuffa in 2016, observed: “

10

11                                                                  ” Ex.118 at -78; see also CSF ¶¶3-6. Dr.

12   Topel conceded that Zuffa’s control of the “                               ” through its contracts created a

13   barrier to entry and that Zuffa’s contracts deprived promoters of what they would need to challenge

14   Zuffa’s dominance. CSF ¶4. Because Zuffa had locked up the vast majority of top Fighters, other

15   promoters were unable to compete with it. E.g., Otto Tr. 246:19-247:19; supra ¶¶19-21 & n.36.

16        iii.    Zuffa’s Scheme Relegated Other Promoters to Feeder or Minor Leagues.
17               23.   Through the Scheme, Zuffa dominated MMA from at least 2007 to 2017. As Deutsche

18   Bank observed, beginning in 2007: “

19                                   ” Ex.102 at -304. As Zuffa conceded in 2009: “

20                                                                               ” Ex.87 at -95. Moody’s

21

22   36
        PRFA No. 32 (L. Fertitta: “When you look at the top 10 in every division, we’ve got every fighter
     under our umbrella. All the fighters want to be with us because they want to fight the best competition.
23   So from that standpoint . . . the competition isn’t really relevant.”); Ex.60 (Shelby: “
                           ”). Otto, who ran another MMA promoter, testified: “If I need to go get fighters
24   that are bigger names, they’re not in the woods somewhere up in a tree hiding, they’re in a fight
     organization. And if they’re locked up in a contract prematurely or a contract that was transferred and
25   assumed because of the acquisition, I have no shot of getting that fighter.” Otto Tr. 246:19-247:19. Otto
     testified further about the effect of Zuffa’s control of top Fighters: “the talent pool was slim to none….
26   It’s like, … you gobble up organizations and you coincidentally get the contracts with that deal, and
     those guys are under contract, and even though they don’t exercise their rights to fight them, they’re
27   still under contract, and they’re locked up. So, you know, the talent pool was not there[.]” Id. 371:12-
     372:13. Lappen, with ProElite (parent company of EliteXC), testified that Zuffa’s Exclusive Contracts
28   affected EliteXC’s ability to sign top Fighters. See Lappen Tr. 137:22-138:8.

                                                           12                      Case No.: 2:15-cv-01045-RFB-(PAL)
                           PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                              Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 29 of 64



 1   found in 2010 that the UFC is the '                                  " that'

 2   -             " Ex.49 at -1183.37 And as Zuffa recognized in 2010, (a)

 3                   "Ex.94 at -952, and (b) '

 4

 5

 6                     ." Ex.97 at-403. 38 Zuffa's owners have

 7   -       · SRI i!137, Fig.2. White touted in 2010: "There is no competition. We're the NFL ... There is

 8   no other guy." Ex.139. A Zuffa executive repeated that admission in 2010, stating that'

 9

10   -             " Ex.93 at -41.
11           24.      Given the '                "bruTiers to entry imposed by Zuffa 's Scheme, Ex.118 at -78,

12   the UFC has'                                                        ." Ex.105 at -912. Instead, other

13   promoters have positioned themselves as "feeder" or "minor leagues." As White conceded: "I don 't

14   look at those guys as competition at all. They're nowhere neru· the league that we're in. I need shows

15   like this. They're the feeder leagues. All the guys who fight in those shows aspire to be in the UFC

16   some day. They're creating all the UFC talent oftom01Tow." White Tr. 194:21-195:5; Ex.136 at 1. 39

17           25.      Zuffa's citation to ce1iain promoters' boasts that the UFC had not affected their ability

18
     37
        See also Ex.106 at -05 (Moody's 2008); Ex.92 at -84-85 (Moody's 2009); Ex.107 at -39-40
19   (Moody's 2011); Ex.108 at-58-59 (Moody's 2013); Ex.82 at-87-88 (Moody's 2014); Ex.109 at -74-75
     ~Moody's 2015); Ex.110 at -82-83 (Moody's 2016).
20    8
        See also SRI mfl30-31; Ex. I 00 at -738 (Deutsche Brutlc ("DB") 2007); Ex. I 04 at -928 (DB 2009);
     Ex.98 at -534 (DB 2011); Ex.48 at -311 (Goldman Sachs 2012); Ex.96 at -276 (DB 2013).
21   39
        See also Topel Tr. 376:25-377: 19 (admitting that Zuffa considered other promotions to be "minor
     leagues" and comparing "minor league" promotions to AAA in MLB "where athletes pla either
22   because the like la in or because the ho e to make it to the major leagues"); Ex.54
                                                                 ); Shelby Tr. 180:14-182:24
23                                                   ; x.         x.42 at -52
             , ·onson r. :              :     x.     at 3 (Titan FC "give[s] eve1y sm e g er a              u
24   cause [i.e., a clause permitting the Fighter to leave for the UFC if the UFC wants the Fighter] ... [A]II
     my guys have the ability to leave for the UFC, because eve1y kid training in MMA has the dream of
25   being a UFC champion."); Knapp Tr. 220:22-221: 13 (Invicta "can't ask [its] athletes to fight hard for
     [Invicta] if [she 's] not willing to fight hard for them and give them the opportunities-he     're lookino
26   for. And I assure ou eve one of them wants to be in the UFC[.]"); Ex.81 at -916
                                                            ); Atencio Tr. 75:22-76:11 (Non- u a promo ers
27                                                           athletes to oet to the "to " refeITin to the UFC · J.
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                                                           13                       Case No.: 2:15-cv-01045-RFB-(PAL)
                          PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                             Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 30 of 64



 1   to sign Fighters, ZSUF ¶¶21, 25, are not credible and are disputed. 40 White has explained why they are

 2   not credible: “Nobody ever wants to look at themselves as a feeder league to the UFC. Deal with it.

 3   You’re all feeder leagues to the UFC[.] I want them to exist and make money because those guys create

 4   the next talent that will end up in our organization someday.” PRFA No. 24. Further, Zuffa’s citations

 5   stand only for the undisputed proposition that Zuffa did not foreclose access to all Fighters. But that is

 6   irrelevant because the evidence shows that (a) all Fighters are not the same, CSF ¶¶1-2, (b) Zuffa

 7   locked up nearly all top Fighters and those with potential to be, CSF ¶¶4, 19-22, and (c) what is

 8   necessary to compete with the UFC is a critical mass of top Fighters, not low-ranked unknown Fighters

 9   or even a few top Fighters, CSF ¶¶3-6. In any event, Zuffa’s cited statements do not contradict

10   evidence showing that UFC is the “majors” and other promoters are not. As White testified, “Whether

11   they like it or not, they’re the farm league,” White Tr. 192:25-193:14, and “I’ve said everybody was a

12   feeder league to the UFC.” Id. 242:13-16. See also Ex.89 at -195 (“

13

14                                                                     ”); CSF ¶24 & n.39. “Minor league”

15   promoters may sign some athletes and make some profits, but they do not constrain Zuffa’s market

16   power.

17        iv.    Zuffa Has Had No Direct Competition.
18              26.       Contrary to ZSUF ¶¶18-25, even the most prominent non-Zuffa promoters have been

19   distant substitutes for the UFC. SR1 ¶¶104-07, 134-40. 41 Similarly, market observers, including a

20   consulting firm (the Raine Group) evaluating potential investors for Zuffa in 2016, viewed Zuffa as

21                    Id. ¶¶134-140; CSF ¶¶20, 22-24 & nn.37-39. The Raine Group put it succinctly in 2012:

22                                                              .” Ex.112 at -065. 42 As Lorenzo Fertitta

23   admitted in 2012, “There never has been a comparable outlet [to the UFC]. . . . We’ve dominated this,

24

25   40
        The testimony of Lappen (EliteXC) and Otto (IFL) contradicts Zuffa’s cited evidence, supra n.36. In
     addition, both Aronson and Knapp receive substantial revenue from Zuffa, bringing their credibility
26   into question. Aronson Tr. 82:14-83:10, 92:8-93:16; Knapp Tr. 130:6-13, 63:24-64:13.
     41
        Similarly, Zuffa’s contention that “New MMA promoters are continuing to emerge,” ZSUF ¶20, is
27   overstated and irrelevant because, to the extent there have been new promoters, they have all been
     feeder leagues, not on par with the UFC. See CSF ¶¶22-25.
28   42
        See also Ex.114 (Item 2.3 line 91) (“
                    ”).
                                                          14                   Case No.: 2:15-cv-01045-RFB-(PAL)
                              PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                                Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 31 of 64



 1   this sport, alright? We 've dominated the space." PRFA No. 17. None of the promoters Zuffa identifies,

 2   ZSUF ,nfl8, 21, has sufficient clout to check its dominance :

 3        a.

 4

 5                                                                                                     y, edited
                                                                                                      . Ex.45 at
 6             -155; MulkeyTr.216:13-217:7; id.at2 18: -         : . o er, w owas roug mo eadBellator
               in June 2014, described the promotion as "a dying brand," because, among other reasons,
 7             Bellator lacked "star power ... they didn't have ve1y big names at Bellator." Coker Tr. 166: 11-
                          , · · ce documents prior to acquiring the UFC in 2016 describe Bellator as a
 8                                 ?x.118 at -78. Moreover, Zuffa 's statem~nt that B~llator "success.fully

 9

10

11

12        b. -                     n that °llerates exclusive~y in Asia, began by telling Zuffa that it. .
                                 Ex.54. Dana White testified that OneFC was a feeder organiza 10n,          1e
13                       ,       C matchmaker Sean Shelby has successfully obtained the release from
               OneFC to UFC of top OneFC Fighters. Shelby Tr. 203 :9-23.
14
          c. Professional Fighters League ("PFL"), the successor to World Series of Fighting ("WSOF"),
15           does not directly compete with the   UFCjL
             achieved annual gross revenues of even
                                                           from its inception in 2012 through 2016 never
                                                         of the UFC's gross revenues. SRI Tbl.3. Zuffa
16           executives have conceded that WSOF do                     ·o    ·          · ·       ·
                            -1 78:21 ; Ex.127 at -818 ('
17                           " .

18
               27.    Contrary to ZSUF ,r28, the evidence is ove1whelming that no other sport or
19
     ente1tainment competes with Zuffa. See SRI ,r,rl 15-1 8. And Zuffa has admitted this with respect to
20
     boxing and wrestling. See White Tr. 543:13-14 ("We're not in competition with boxing."); id. 450:2-8
21
     ("Is [the WWE] competition? No. I mean, there's people that watch WWE and there 's people that
22
     watch UFC .... What we're doing is completely different from what they're doing."); id. 452:13-
23
     453:17 ("I've always said [the UFC and WWE are] two completely different markets.").
24

25
     43
        Zuffa offers no admissible evidence supporting OneFC's supposed valuation. ZSUF ,r18.
26   44
        Zuffa also cites Russian promoter Absolute Championship Berkut (ACB) that has signed a handful of
     fo1mer UFC Fighters. ZSUF ,r18. But ACB has promoted only one, untelevised event in the US, a
27   second m1televised event in North America, with nothing upcoming. Zuffa does not dispute that ACB
     has "virtually no presence in the Relevant Geographic Market, and is hardly established in the
28   marketplace." SR2 ,r32. Fmther, the day before Zuffa filed its MSJ, ACB confnmed the cancellation of
     three events due to "organizational and fniancial problems." Ex.141.
                                                         15                    Case No.: 2:15-cv-01045-RFB-(PAL)
                          PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                             Public Version (Redacted)
             Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 32 of 64



 1        D. Zuffa's Scheme Caused Anticompetitive Effects

 2            i.    The Scheme Suppressed Fighter Compensation.

 3                 28.   That Zuffa's pay rose over time, ZSUF ,8, or that Zuffa ' s dominance allowed it to pay

 4   more than other promotions, ZSUF , 9, are inelevant because Zuffa's Scheme reduced competition and

 5   suppressed Fighter compensation below levels that would have prevailed absent the Scheme. Dr.

 6   Singer's impact regression shows, for instance, that as there was an increase in the share of Fighters

 7   Zuffa locked up (the "Foreclosure Share"), Zuffa p aid its Fighters a lower share of its Event Revenues

 8   ("Wage Shai-e"), and thus that absent the Schem e Fighter Wage Share would be substantially higher. 45

 9   Zuffa concedes this effect. TRI , 27 . Zuffa does not dispute that its annual Event Revenues grew

10   substantially from 2007- - - to 20 1 ~ . SR3 n. 6 & Fig.Al. Zuffa concedes

11   too that its Fighters played a substantial role in that - of revenue. See Topel Tr. 27:1 8-25, 47: 15-

12   48:4, 241 :4-1 6.46 It also concedes that as a fum' s monopsony p ower grows, so does the gap between

13   the amounts it p ays its workers and the revenues the workers generate. 47 And it even concedes that

14   Zuffa 's'

15   -             ·" TRI , 27 (emphasis in original). 48 Zuffa 's economist, Dr. Topel, admits the Exclusive

16   Contracts prevent a "tran sfer of wealth" that would othe1w ise occur from Zuffa to its Fighters. 49

17                 29.   Dr. Singer shows that, due to the Scheme, Zuffa paid Fighters a lower Wage Sharell

18                                                                  See SRI Pt.III.D.1 & Pt.VI.A. Similarly, the

19   major spo11s all have greater competition for athletes ' services than Zuffa and so pay them about 50%

20
     45
        See SRI , , 111, 180-87 & Tbls. 4-6; SR2 , ,3, 36, 40, 68, 72-87, 138, 144-48; SR3 ,,3, 12, 37, 40,
21   44, 46, 49; SR4 , 7; Ex .69 at -08; Coker Tr. 97: 18-99:3; ZR2 ,1 9; Blair Tr. 157:8-158:1 9.
     46
        Dr. Sin er demonstrates em iricall that Event Revenues increase in ro 01i ion to Fi ter rank. SR2
22      130-3 1
23                            ; 1.            '    '     '  '               '
         ope r.                . So if the market's competitive, the athlete will get paid equal to his marginal
     revenue product; and if there's m onop sony power in the market, the athlete will get paid below [it],
24   c01Tect? A. Yeah . All athletes, not just Zuffa.").
     48
        See also To el Tr. 50:6-51:2. Zuffa also created a chrut
25
                                  x. a - :, ; ope r.                     ,     : - . ven evenues mcrease as
26       1.er a en mcreases, and thus Fighters ai-e resp onsible for a significant and prop o1tional share of
     Event Revenues. See SR2 , , 111-13, 118, 120, 128; SR3 , ,22-23, 26, 28; SR4 ,nf14, 16-17, 19, 38;
27   MRI ,,24-27.
     49
        See Topel Tr. 76:4-77:3, 78:20-79:1 , 83: 19-84: 8, 84:11-85:5 , 86: 1-11, 124:1-13, 136: 11-137:1,
28   140:1 9-22, 344:6-346:8.

                                                               16                       Case No.: 2:15-cv-01045-RFB-(PAL)
                             PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                                 Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 33 of 64



 1   or more of revenues. ZRl ,J,J25-71. And two of the most prominent boxing promoters pay on average

 2   II of their revenues to boxers. ZR2 ,J86. In contrast, Zuffa pays a paltryII or so of its Event
 3                     °
     Revenues. 5 Contra1y to Zuffa's contention that Plaintiffs did not show it suppressed "actual wages,"

 4   ZSUF ,i,i37, 8, the record demonstrates that Zuffa would have paid Fighters between

 5   -                 more than it actually did absent the Scheme. 51

 6         ii.    The Scheme Reduced the Quality of MMA Events.

 7               30.       Zuffa's Scheme also reduced the quality of Live MMA Events by reducing Fighters'

 8   incentives to invest in their careers. Dr. Zimbalist found that "fighters have less incentive to prepare

 9   and train in the sho1t rnn" because of their suppressed wages caused by the Scheme, and in "the long

10   nm, prospective MMA fighters have less incentive to develop the necessa1y skills to participate in the

11   sport, lowering the supply and overall quality of paiiicipants." ZR2 n.47. 52

12        iii.    The Scheme Suppressed Marketwide Output of MMA Events and Inflated Prices.

13               31.       Zuffa's claim that it and ce1tain other promoters expanded their output over time, ZSUF

14   ,J,J7, 19, is inelevant because what matters is marketwide output, and the evidence shows that

15   marketwide MMA output/ell due to the Scheme. 53 Dr. Singer dete1mined that, due to the Scheme,

16

17
     50
        SRI ,J,Jl89, 252 & Tbl.10; ZRl n.242 & Tbls. 4-5; Ex.53 at -35; Ex.116 at *11 ; Ex.78 at *10; Ex.117
18   Line 14; Ex.63 at -69.
     51
        See SRI if,J245-56 & Tbls. 9-12; SR2 ,J,Jl71-86; ZRl ,i,i123-26 & Tbls. 4-6; ZR2 VI.
19   52
        See also ZR2 ,J90 ("higher compensation would incentivize athletes to invest more in their own
     preparation and training, yielding higher quality fighters and contests, and increasing industry revenues
20   [as observed] in U.S. professional team spo1is following the advent of free agency''); id. ,J99; see also
     ZRl ,J,J79-80 (other spo1ts saw increased investment from owners and increased quality of spo1ting
21   events as athletes used increased compensation to devote more time to training and fitness and exe1ied
     themselves more in competition); id. ,J,J83-84 (same). SRI ,J,J286-90; SR2 ,J,Jl97-98, 211-12, 217, 234.
22   Zuffa's economist Dr. Blair conceded that by suppressing athlete compensation "the quality of play
     would be lower and that. .. in tum, could have an impact on fan demand for watching major league
23   games and... to that extent, the value of the product that's being offered, that is the competition o[n]
     the field ... is lower and consumers are worse off as a result." ZR2 ,JlOO (quoting Blair Tr. 148:24-
24   149:5). Dr. Topel likewise acknowledges, all else equal, an increase in Fighter compensation relative to
     other spo1ts would improve MMA quality. Topel Tr. 476:4-10; see also id. 154:22-25, 155:17-24.
25   53
        See SR1,J,J203-207, 268 & Figs. 4A-4C (measuring reduced output of promoters in the Input
     Market); SR2 ,J,J44, 47-49. Fmther, Zuffa had too few bouts for its Fighters such that, absent its
26   Exclusive Contracts, the Fighters would have competed for other promoters at additional events. E.g. ,
     SRI ,J,J193-96, nn.478-83; SR2 ,J,J42-43, n.153 ; J. Silva Tr. 225:5-228:25 ; id. 238:4-21 , 240:16-243:22,
27   248:11-14, 249:16-250:19 257:8-15· White Tr. 343:20-24. 341:7-12 340:9-12· Shelb Tr. 119:7-14.
     128:l-17·Ex.91 Silva:
28

                                                               17                    Case No.: 2:15-cv-01045-RFB-(PAL)
                               PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                                 Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 34 of 64



 1   Zuffa increased the price of PPVs above competitive levels while reducing marketwide output. 54

 2     E. Zuffa's Scheme Had No Procompetitive Effects

 3           32.    Zuffa provided no evidence that the Scheme had any procompetitive effects. See SRI

 4   if,J257-90; SR2 if,J210-41 ; SR4 ,IlO. 55 Dr. Zimbalist showed MLB, the NBA, the NFL, the NHL, and

 5   boxing all once claimed their restrictive athlete contracts were essential to their success, but those

 6   excuses were all exposed as pretextual when their revenue, quality, and output all improved with

 7   expanded athlete mobility and free agency. See ZRl ,r,r79-80, 83-84, 89-103; ZR2 ,r,r9, 90, 97, 99-114.

 8   Zuffa's suggestion that having its entire roster of Fighters locked into long te1m Exclusive Contracts is

 9   necessary to "have enough athletes available[,]" ZSUF ,Il4, is pretextual and contradicted by the

10   record, and any alleged benefits could be achieved by less restrictive means, including much shoiter

11   contracts (given that, e.g., Zuffa admits booking events only -             in advance). 56
12   III.   LEGAL STANDARD

13

14

15                                                                                           n.
                                                                                         ). Zuffa asse s . a
16   reason or 1e mcrease was o move pnces c oser o oxmg an eep pace w1 inflation. ZSUF ,Il 1.
     Neither excuse refutes Dr. Singer's point that higher prices for MMA Events demonstrate Zuffa's
17   market power because the ability to raise price profitably without losing sales-regardless of the
     reason-is market power. SRI ,n[l42, 147.
18   55
        Zuffa' s claims to have developed the spo1t ofMMA, ZSUF ,r,i3-6, are immaterial. SR2 ,r,r228, 232.
     They are also disputed. See SR2 if229 (discussing the "Zuffa myth"). Zuffa executives have admitted,
19   for instance, that "the basic idea for the sport and the octagon and the early rnle book, those were all in
     existence prior to Zuffa's purchase of the UFC." Silva Tr. 83:22-84:2. Features ofMMA that pre-dated
20   Zuffa's purchase of the UFC include: "sp01t's first rule book," id. 79: 17-81 :2, the "octagon" cage still
     used today, id. 81 :3-16, and the pay-per-view business model. Id. 82:3-9. See also Fe1titta Tr. 28:6-29:3
21      rior UFC owners " were wildl successful" and "actuall rofitable" . And Zuffa's claim
22
23

24
          · e y r.          ,                ,               ,           m . er, ma more competitive
25   environment, if Zuffa lacked Fighters to fill an Event card, it could have obtained them from a feeder
     promoter or free agency, or could have co-promoted events. SR2 ,r,I22 l-26, nn. 725-730; Shelby Tr. at
26   212:23-213:8. Other promoters were willing to co-promote if Zuffa was. SR2 ,r,I221-26; Topel Tr.
     297:7-12. Sillf}'larl
                         Zuffa could have imposed much sho1ter tenns and had sufficient Fighters available
27   for its cards            in advance. See SR2 if,Jl88-97. Moreover, Zuffa has neither quantified any
     procompetitive e ec s, opel Tr. 148:25-149:6, 150:1-12, 153:18-25; Blair Tr. 245:14-19; SR2 ,n[210,
28   212, 215-21, 232, nor shown that they outweigh the demonstrated anticompetitive effects. SR2 ,n[215,
     218,241.
                                                         18                       Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                             Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 35 of 64



 1          Summary judgment is proper when no genuine issue of material fact remains and, viewing the

 2   evidence most favorably to the non-moving party, the movant is entitled to prevail as a matter of law.

 3   Fed. R. Civ. P. 56; Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); Brown v. City of Los

 4   Angeles, 521 F.3d 1238, 1240 (9th Cir. 2008); Eisenberg v. Ins. Co. of N. Am., 815 F.2d 1285, 1288-89

 5   (9th Cir. 1987). The court regards as true the nonmoving party’s evidence, if supported by affidavits or

 6   other evidentiary material. Celotex, 477 U.S. at 324; Eisenberg, 815 F.2d at 1289.

 7          A moving party that does not bear the burden of persuasion at trial nevertheless has an initial

 8   burden of production and persuasion to show that there is no material factual dispute. Nissan Fire &

 9   Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000). The moving party must

10   satisfy its initial production in its opening brief, as a new argument cannot be raised for the first time in

11   a reply brief. See Simpson v. Lear Astronics Corp., 77 F.3d 1170, 1176 & n.4 (9th Cir.1995) (issues not

12   raised in opening brief may not properly be raised in reply); In re Lal, 2002 WL 449661, *3 (N.D. Cal.

13   Mar 15, 2002) (same); United States v. Boyce, 148 F. Supp. 2d 1069, 1085 (S.D. Cal. 2001) (same).

14          The moving party may discharge its burden of production in either of two ways: (1)

15   “produce evidence negating an essential element of the nonmoving party’s case,” or (2) “show that the

16   nonmoving party does not have enough evidence of an essential element of its claim . . . to carry its

17   ultimate burden of persuasion at trial.” Id. 1106. To discharge the initial burden by negating an

18   essential element of the non-moving party’s claim, the moving party must produce affirmative evidence

19   of such negation. Nissan, 210 F.3d at 1105; In re NCAA Ath. Grant-In-Aid Cap Antitrust Litig., 2018

20   WL 1524005, at *4 (N.D. Cal. Mar. 28, 2018). If the moving party carries its initial burden, then the

21   burden shifts to the non-moving party to raise a genuine issue of material fact. Bhan v. NME Hosps.,

22   Inc., 929 F.2d 1404, 1409 (9th Cir. 1991); Nissan, 210 F.3d at 1105; Grant-in-Aid, 2018 WL 1524005,

23   at *4. On the other hand, if the moving party does not carry its initial burden, the non-moving party—

24   even one with the ultimate burden of persuasion at trial—is under no obligation to offer any evidence in

25   support of its opposition. Nissan, 210 F.3d at 1105, 1107; Grant-in-Aid, 2018 WL 1524005, *4.

26   IV.    ARGUMENT
27          Zuffa begins its argument by relying on its Daubert motions, claiming Plaintiffs’ experts should

28   be excluded, supposedly leaving Plaintiffs with no evidence of market definition, causation, or

                                                           19                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 36 of 64



 1   damages. MSJ 15. But Plaintiffs have explained why Zuffa’s Daubert motions all should fail. See

 2   generally SZDO. Dr. Singer’s and Zimbalist’s opinions should be deemed reliable and admissible on

 3   those issues, and their testimony alone defeats summary judgment. Further, even without them, there is

 4   sufficient evidence—including admissions from Zuffa and its economists—to deny Zuffa’s motion. 57

 5               Zuffa also asserts incorrectly that Plaintiffs no longer claim that it has monopoly power. MSJ

 6   15-16. Zuffa knows this is untrue, as it spends many pages addressing Plaintiffs’ evidence of its

 7   monopoly power. MSJ 19-20, 36-39. This is just another effort by Zuffa to sidestep the overwhelming

 8   evidence that its anticompetitive conduct allowed it to become the dominant seller of MMA events—

 9   giving it monopoly power—and also allowed it also to become the dominant buyer of MMA Fighter

10   services—giving it monopsony power. See SR2 ¶137. While it is true that Plaintiffs seek damages

11   based only on Zuffa’s monopsony power—in the form of suppressed wages—Plaintiffs continue also to

12   show Zuffa’s monopoly power. See, e.g., SZDO 36-37.

13        A. Plaintiffs Properly Define Input and Output Markets
14               Plaintiffs show Zuffa’s market power in two ways: (i) circumstantial evidence: Zuffa had a

15   dominant share of relevant markets, giving it power to cause anticompetitive harm, and (ii) direct

16   evidence: Zuffa in fact caused anticompetitive harm, including suppressing Fighter compensation. Both

17   are sufficient by themselves to establish market power. Rebel Oil Co v. Atlantic Richfield Co., 51 F.3d

18   1421, 1434-35 (9th Cir. 1995). Zuffa argues Plaintiffs have not properly defined the relevant input

19   market (“Input Market”)—for purchases of Fighter services—or output market (“Output Market”)—for

20   the sale of MMA events. MSJ 16-20. Zuffa is wrong as to both.

21          i.    Dr. Singer’s Relevant Input Market Is Supported by Substantial Evidence.
22               In a monopsony case, a relevant market is “the group of [buyers] … who have the ‘actual or

23   potential ability’ to deprive each other of significant levels of business.” Le, 216 F. Supp. 3d at 1161,

24   1163; Todd v. Exxon Corp., 275 F.3d 191, 203-05 (2d Cir. 2001). “The definition of the relevant

25   market is basically a fact question dependent upon the special characteristics of the industry involved.”

26

27
     57
       City of Vernon v. S. Cal. Edison Co., 955 F.2d 1361, 1371 (9th Cir. 1992), and McGlinchy v. Shell
28   Chem. Co., 845 F.2d 802, 808 (9th Cir. 1988) (MSJ 15), thus do not support Zuffa’s motion.

                                                             20                     Case No.: 2:15-cv-01045-RFB-(PAL)
                            PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                               Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 37 of 64



 1   Twin City Sportservice v. Charles O. Finley & Co., 676 F.2d 1291, 1299 (9th Cir. 1982). 58 Dr. Singer

 2   conservatively defines the Input Market using two broad definitions: Tracked and Ranked. 59 The

 3   “Tracked” definition includes all nine MMA promoters that hire Fighters tracked by an industry

 4   accepted database that Joe Silva found “very credible.” 60 Dr. Singer alternatively uses an even broader

 5   “Ranked” definition, which includes (1) all promoters in the Tracked definition, (2) all promoters with

 6   any Fighter ranked in a separate database (called “FightMatrix”), which ranks Fighters up to 650 in

 7   each weight class across promoters, and (3) an additional promoter, One FC, that operates in Asia. SR1

 8   ¶110. 61 Further, Dr. Singer defines the Headliner submarket, comprising promoters with the top 15

 9   Fighters in the 10 major weight classes tracked in the USA Today/MMA Junkie rankings. Id. ¶112. 62

10   As this Court has already ruled: “To find whether the Plaintiffs defined a relevant market within a sport

11   . . . , the Court must take into consideration how athletes in their respective fields are ranked with

12   regards to one another.” Le, 216 F. Supp. 3d 1166. That is what Dr. Singer’s market definitions do. 63

13
     58
        See also Rebel Oil, 51 F. 3d at 1435 (“the court may not weigh evidence or judge witness
14   credibility”); Le, 216 F. Supp. 3d at 1165.
     59
        Contrary to Zuffa’s assertion, MSJ 17, Dr. Singer begins with the market for “Elite Professional
15   MMA Fighter services.” CAC ¶¶76-94; see also SR1 ¶¶105-14, 134-40. He finds substantial
     evidence—including admissions of Zuffa’s top executives, internal documents, reports by investors and
16   analysts, and financial data—that no promoter is interchangeable with Zuffa from a Fighter’s
     perspective. See, e.g., SR1 ¶¶131, 134-40 & nn.352, 358-86; SR2 ¶¶16-24, 26; CSF ¶¶3-6, 19-26. Dr.
17   Singer observes that “even the most prominent non-Zuffa promoters do not have access to a sufficiently
     deep pool of talented Fighters to provide competitive matchups to advance a Zuffa Fighter’s career,
18   thus making non-Zuffa MMA promoters an inadequate substitute.” SR1 ¶104. Dr. Singer testified that
     his impact regressions show the market likely included “just the fighters under Zuffa’s control” because
19   Zuffa needed to control no other Fighters to lower pay by a small but significant amount without
     defections. Singer Tr. 292:7-294:3. Zuffa complains that Dr. Singer defines a Zuffa-only Input Market.
20   See MSJ 19 (citing SZDO 45 n.81). That would have, in fact, been proper. But, to be conservative, Dr.
     Singer defines the Input Market more broadly.
21   60
        J. Silva Tr. 162:19-163:4. The “Tracked” definition includes nine Promoters whose Fighters were
     tracked by “FightMetric.” SR1 ¶109; Singer Tr. 296:17-297:9 (economic literature on the MMA
22   industry frequently uses FightMetric data).
     61
        Zuffa’s citation to In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966, 987 (C.D. Cal. 2012),
23   MSJ 18, is unhelpful because in that case, unlike here, the expert “never meaningfully considered any
     narrower definition of the market, nor did he ever expand that definition until all reasonable substitutes
24   [were included].” Id. Dr. Singer performed an SSNDP test and then considered both broader and
     narrower markets, finding that regardless whether Zuffa’s Scheme is analyzed in the context of an
25   Input Market that is conservatively broad (Ranked) or appropriately narrow (submarket of Headliners),
     Zuffa exercises considerable monopsony power. See infra at 24 (discussing SSNDP test).
26   62
        Le, 216 F. Supp. 3d at 1161 (“although the general market must include all economic substitutes, it is
     legally permissible to premise antitrust allegations on a submarket”).
27   63
        Dr. Singer uses his impact regressions to confirm the correctness of his Input Market. A relevant
     market is the smallest grouping of buyers that, if unified by a monopsonist, would permit a buyer to
28   reduce compensation below competitive levels. Rebel Oil at 1434; Le, 216 F. Supp. 3d at 1161, 1163.

                                                          21                       Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 38 of 64



 1           First, contrary to MSJ 16-17, Plaintiffs define the Input Market based on promoters that buy

 2   MMA Fighter services. The proper way to identify the relevant promoters, however, is by the athletes

 3   they retain, just as Plaintiffs do. Again, not all MMA promoters are equivalent largely because not all

 4   Fighters are. Only promoters who retain a core number of marquee Fighters compete with Zuffa to buy

 5   Fighter services and to sell MMA events. Dr. Singer defines the Input Market “by determining the

 6   extent to which promoters other than Zuffa do or do not offer ‘comparable competitive alternatives to

 7   which MMA Fighters could reasonably substitute to counteract an exercise of (buyer) market power by

 8   Zuffa.’” SR3 ¶49 (quoting SR1 ¶100) (emphasis added). Thus, although Dr. Singer “distinguish[es]

 9   between promoters by their most important feature: the talent and quality of their respective rosters of

10   Fighters[,]. . . the markets are defined to include promoters.” Id. (emphasis added). 64

11           Courts have long recognized “relevant market definition[s] based on a quality distinction of one

12   league over another” based on distinctions in the quality of the athletes. Rock v. NCAA, 2013 WL

13   4479815, at *13 (S.D. Ind. Aug. 16, 2013). This Court previously held, for instance, that “the Supreme

14   Court has recognized distinctions in different levels of athletic competitions to constitute a relevant

15   market for the purpose of the Sherman Act: ‘championship boxing is the “cream” of the boxing

16   business, and. . . is a sufficiently separate part of the trade or commerce to constitute the relevant

17   market for Sherman Act purposes.’” Le, 216 F. Supp. 3d at 1166 (quoting Int’l Boxing Club of N.Y.,

18   Inc. v. U.S., 358 U.S. 242 (1959)) (alterations in original). 65

19
     Dr. Singer shows that by controlling dominant shares of each of his markets, Zuffa was able to suppress
20   pay below competitive levels. SR2 ¶¶36-40; SR1 ¶¶180-87; Singer Tr. 292:7-294:3. If promoters
     outside of Dr. Singer’s Input Market were viable alternatives, then Zuffa would not have been able to
21   suppress compensation, confirming his markets are correct. Zuffa’s citation to Ohio v. American
     Express Co., 138 S. Ct. 2274, 2285, n.7 (2018), MSJ 16, is inapposite because Plaintiffs in fact define
22   relevant markets. Moreover, neither Zuffa nor any of its experts have ever claimed that the Supreme
     Court’s “multi-sided market” analysis applies here, and it would be too late to do it on reply (and
23   improper without expert testimony). Regardless, that analysis does not apply here. See Grant-In-Aid II,
     2018 WL 4241981, at *4-5 (N.D. Cal. Sept. 3, 2018) (sports not a two-sided platform).
24   64
        See also SR1 ¶99 (defining the Input Market based on “the alternatives to which Fighters could
     reasonably substitute,” i.e., promoters); id. ¶¶100, 104-05 & SR2 ¶16 (rejecting an Input Market
25   definition of “all MMA promoters”); SR1 ¶111 (Input Market definition is conservative because “the
     most prominent non-Zuffa promoters are inferior substitutes”); id. ¶125; SR2 ¶24 & n.67.
26   65
        See also Int’l Boxing, 358 U.S. at 250-52. Courts have done so, as Dr. Singer does here, “particularly
     where that distinction results in increased revenue and opportunities for the participants,” including,
27   e.g., a distinct market for “championship” boxing contests, id., distinct markets for different levels of
     collegiate athletics, Rock, 2013 WL 4479815, at *13 (distinguishing Division I football from Division
28   II and Division III), and distinct markets for major league and minor league professional sports,

                                                           22                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 39 of 64



 1          Zuffa oddly complains about Plaintiffs’ expansion of the market definition beyond promoters

 2   who hire “elite” Fighters. MSJ 17-18. Zuffa’s analysis is exactly backwards. What Plaintiffs show is

 3   that even if, to be conservative, one defines the market overly broadly—to include promoters that hire

 4   MMA Fighters who cannot compete with Zuffa’s—Zuffa still has a dominant market position. CSF

 5   ¶¶21, 23-24, 26; SR2 ¶17; SR3 ¶49. Zuffa’s market power persists with a narrower market definition,

 6   limited to the top 15 Fighters per weight class—the “Headliner” submarket. E.g., CSF ¶21.

 7          In challenging Plaintiffs’ market definition, Zuffa offers an irrelevant analysis—with no basis in

 8   expert testimony—that promoters holding events with at least one Fighter satisfying Dr. Singer’s

 9   criteria often held events with no Fighters satisfying those criteria. MSJ 18. It is hard to imagine what

10   Zuffa thinks this proves. Using the Ranked approach, Zuffa’s analysis would mean that some

11   promoters hold some events with only one Fighter ranked 650 or better in a weight class and hold other

12   events with no Fighters ranked 650 or better. Hundreds of promoters, Zuffa notes, fit this category. But

13   none of those promoters competes with Zuffa. CSF ¶¶23-26. Having a single Fighter in the top 650 at

14

15   Philadelphia World Hockey Club, Inc. v. Philadelphia Hockey Club, Inc., 351 F. Supp. 462, 471-74
     (E.D. Pa. 1972). See also O’Bannon v. NCAA, 7 F. Supp. 3d 955, 966-68 (N.D. Cal. 2014) (top division
16   college football and basketball are separate markets from lower divisions); In re NCAA I-A Walk-on
     Football Players Litig., 398 F. Supp. 2d 1144, 1150 (W.D. Wash. 2005) (denying NCAA’s motion to
17   dismiss where top recruits are “necessary ‘inputs’ to the production of Division I-A football”); Ass’n
     for Intercollegiate Athletics for Women v. NCAA, 558 F. Supp. 487, 497 (D.D.C. 1983) (“NAIA is not a
18   realistic option” to Division I men’s intercollegiate athletics); Clarett v. NFL, 306 F. Supp. 2d 379,
     383-84, 403 (S.D.N.Y. 2004) (NFL is separate market from other professional leagues, such as arena
19   football), rev’d on other grounds, 369 F.3d 124 (2d Cir. 2004); McNeil v. Nat’l Football League, 790
     F. Supp. 871, 891-93 (D. Minn. 1992) (relevant market deemed “major league professional football”);
20   Cf. Twin City, 676 F.2d at 1299 (“In defining a relevant market for Sherman Act purposes, the court
     must consider distinction in degree as well as kind.”).
21            Zuffa’s reliance on Golden Boy Promotions LLC v. Haymon, 2017 WL 460736 (C.D. Cal. Jan.
     26, 2017), is misplaced. MSJ 18. Golden Boy concerned whether managers of top boxers and lower-
22   ranked boxers were interchangeable, not whether the fighters themselves were interchangeable. 2017
     WL 460736 at *1. And the Golden Boy plaintiff offered “no explanation why managers of non-
23   Championship-Caliber Boxers would not be in the same economic market. . . particularly in light of the
     fact that a non-Championship-Caliber Boxer can become a Championship Caliber Boxer as the result
24   of a single fight.” 2017 WL 460736, at *11. Here, conversely, Dr. Singer analyzes why promoters in
     his Input Market are not in the same economic market as other promoters based on the identity of
25   Fighters on their roster, namely because a promoter’s roster of Fighters (and thus potential opponents)
     is the critical attribute Fighters consider in determining whether a promoter is a reasonable substitute
26   for Zuffa. CSF ¶5(c). That promoters at the fringe of the Input Market, i.e., those with rosters of only
     the lowest-ranked Fighters who qualify for the definition, may enter or exit the Input Market with some
27   degree of frequency due to the changing rankings at the very bottom of this broad definition does not
     make Dr. Singer’s definition legally (or factually) deficient because the market is already so broadly
28   defined as to make such changes at the outer limits economically insignificant. SR2 ¶17.

                                                          23                      Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 40 of 64



 1   only some events hardly shows otherwise. And given Zuffa’s many admissions that not a single other

 2   MMA promoter qualifies as “major league,” id. & supra n.39, it is not credible that hundreds do. Dr.

 3   Singer’s approach finds confirmation in common sense. Top sports leagues do not compete with

 4   leagues that hire only marginal talent. See CSF ¶¶23-27. Yet Zuffa has to take the absurd contrary

 5   position—that promoters without any Fighters in the top 650 in a weight class somehow compete with

 6   Zuffa—to challenge Plaintiffs’ market definition.

 7           Zuffa also accuses Dr. Singer of failing to apply the so-called “SSNIP” test. MSJ 18-19. As

 8   Zuffa admits elsewhere, the correct test is actually “SSNDP” (a small but significant non-transitory

 9   decrease in price (or compensation)). 66 In other words, the relevant market should include only those

10   promoters to which Fighters would switch if Zuffa were to decrease their compensation meaningfully

11   (by a small but significant amount) for a meaningful period of time (non-transitory). 67 But Dr. Singer

12   does perform a SSNDP test, analyzing the principal criterion Fighters use in evaluating promoters: the

13   ability to offer suitable opponents. SR3 ¶49; SR1 ¶¶99-119; see also CSF ¶5 (Top Fighters or those

14   striving to be so require a promoter with a critical mass of top Fighters). Zuffa even concedes that

15   Fighters evaluate promoters by the Fighters on their rosters. Topel Tr. 433:14-21 (“the good athletes

16   want to be in the places . . . where the other good athletes are so they can fight them”); see also PRFA

17   No. 33. To define the outer bounds of the Input Market, as part of the SSNDP test, Dr. Singer

18   undertakes the standard process, starting with the narrowest market and expanding until all

19   (conceivably) reasonable substitutes are included. SR1 ¶¶99-119. 68

20           Finally, Zuffa quibbles about the outer bounds of the Input Market. 69 As to the Ranked Market,

21
     66
        Zuffa concedes that the appropriate way to define an input market is to identify those promoters to
22   which Fighters would turn to prevent a Promoter from imposing a “SSNDP.” See MSJ 16 (citing
     Golden Boy, 2017 WL 460736, at *11; St. Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys.,
23   Ltd., 778 F.3d 775, 784 (9th Cir. 2015)).
     67
        To identify the group of MMA talent buyers in the Input Market, Dr. Singer analyzes which
24   promoters are reasonably interchangeable with Zuffa such that Fighters would switch if Zuffa’s athlete
     pay falls below competitive levels. See Rebel Oil, 51 F. 3d at 1435 (“If [sellers; here Fighters] view the
25   [buyers; here promoters] as substitutes, the [buyers] are part of the same market.”); Todd, 275 F.3d at
     202 (“This market is comprised of buyers who are seen by sellers as being reasonably good
26   substitutes.”); see also Paladin Assocs. v. Montana Power Co., 328 F.3d 1145, 1163 (9th Cir. 2003)
     (relevant market includes products or services “that have reasonable interchangeability for the purposes
27   for which they are produced” (citation omitted)); SR1 ¶¶98-99; SR2 ¶13; SR3 ¶49.
     68
        See also Hynix Semiconductor Inc. v. Rambus, Inc., 2008 WL 73689, at *3 (N.D. Cal. Jan. 5, 2008).
28   69
        Courts routinely adopt market definitions that require judgment at their outer limits. “That the outer

                                                         24                      Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                           Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 41 of 64



 1   the outer limit is appropriate, in prui, because Zuffa Fighters (and all aspiring and top Fighters) do not

 2   consider events featuring Fighters without sufficient skill or experience to rank in the top 650 of a

 3   weight class to be reasonable substitutes for the UFC. CSF ,rs; SR2 ,r17; SR3 ,r49. 70 Zuffa has not

 4   identified any promoters not in the Ranked Mru·ket that aspiring top Fighters would consider

 5   appropriate substitutes for Zuffa. As to the Tracked Mru·ket, the outer limit is appropriate, in pru1,

 6
                                                                      71
 7                                                                .        Zuffa ru·gues that the Tracked Mru·ket

 8

 9   MSJ 19. However, the Tracked Mru·ket includes nine promoters and the evidence suppo1is excluding

10

11

12

13                                                         CSF ,r26(a). In any event, all three promotions ru·e

14

15   edge of a mru·ket's boundaries [is] disputed does not mean the mru·ket is legally flawed." Nobody in
     Particular Presents, Inc. v. Clear Channel Commc 'ns., Inc. , 311 F. Supp. 2d 1048, 1090 (D. Colo.
16   2004) ("rock" music may be distinct mru·ket); see also FTC v. Whole Foods Mkt., Inc. , 548 F.3d 1028,
     1038-39 (D.C. Cir. 2008) (recognizing market for "premium natural and organic supe1markets"); FTC
17   v. Staples, 970 F. Supp. 1066, 1074-75, 1082-83 (D.D.C. 1997) (recognizing distinct submarket of
     office superstores). Notably, many of the promoters Dr. Singer includes in the Input Market were
18   described by Zuffa's own executives as "minor leagues." SRI ,r,r105-09, 111.
     70
        Zuffa also argues that Dr. Singer's Ranked definition "selectively excludes" athletes competing for
19   Promoters outside the relevant geographic market. MSJ 19. Zuffa submits no expe1i analyses in support
     of this asse1iion, instead citing only a list of Fighters who at one time competed in the relevant
20   geographic mru·ket but at other times competed outside the market. See id. (citing ZSUF,r35 & Z.Exs.
     96-98). The record contradicts Zuffa's unsuppo1ted contention that such promoters are in the relevant
21   geographic mru·ket. See, e.g., infra n.72. In any event, even where "the availability of employment
     [outside the Input Market] places some constraints on the ability of the [monopsonist] to limit salru·y
22   increases," a market definition may be appropriate because even a monopsonist "is subject to
     limitations on how fru· it can [decrease price.]" Todd 275 F.3d at 204.
23   71
        Zuffa anmes that the Fi htMetric database '
24

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                                                          25                            Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                            Public Version (Redacted)
           Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 42 of 64



 1   in fact conservatively included in the Ranked definition.

 2              Zuffa argues that it has “never had over 22% of the total athletes in Dr. Singer’s Ranked market

 3   in any year,” relying solely on a lawyer-created “summary chart.” ZSUF ¶36 & Z.Ex.99. This non-

 4   expert analysis of market share erroneously treats Fighters as fungible in measuring market share. But

 5   the value of a Fighter to a promoter correlates with Fighter rank. See CSF ¶¶2-3, 28 & n.46. Assessing

 6   promoters’ share of the Input Market is not simply an exercise in comparing the raw number of

 7   Fighters each has. Zuffa in fact has conceded that promoters should be weighted according to the

 8   relative collective compensation of their respective group of Fighters. SD 34; SZDO 48-49. And that is

 9   essentially what Dr. Singer does. 73 Based on these appropriately weighted shares, Dr. Singer calculates

10   Zuffa’s market share in the Input Markets over time to be significant and increasing. Between 2005 and

11   June 2017, Zuffa’s shares were           % (Tracked),        % (Ranked), and         % (Headliners). CSF

12   ¶21. These dominant shares demonstrate monopsony power. See infra Sec.IV.C-D; see also Le, 216 F.

13   Supp. 3d at 1161. Zuffa has elsewhere admitted its dominance of the Input Market. 74

14        ii.   Dr. Singer’s Output Market Is Supported by Substantial Evidence.
15              Zuffa claims Plaintiffs no longer argue it has monopolized the Output Market, MSJ 15-16, 19,

16   and then, inconsistently, argues that Plaintiffs have not defined the Output Market properly. It is

17   mistaken on both counts. While Plaintiffs need not demonstrate monopoly power at all in this

18   monopsony case, infra 41-44 (discussing monopoly power) & nn.113-14 (citing cases showing

19   monopoly power unnecessary in monopsony case), Plaintiffs do so here. Dr. Singer defines the Output

20   Market as sellers of live MMA events broadcast on television in North America featuring Fighters in

21   the Input Market or submarket. SR1 Pt.III.A.2. 75 He analyzes whether consumers viewed other

22   promoters as substitutes for the UFC, concluding only those promoters whose live MMA events are

23   broadcast on television in North America and feature Fighters in the Input Market could be deemed

24
     73
        While Dr. Singer does not have Fighter compensation data for each promotion, he does have Event
25   Revenue data. Because Fighter compensation is roughly proportional to Event Revenues, supra n.46,
     Dr. Singer weights promoters based on the revenues their Fighters generate. SR1 ¶128.
26   74
        E.g., Topel Tr. 435:17-437:22, 440:12-441:10 (admitting Zuffa’s control of the “
              ”); Ex.88 at -382; PRFA No. 32 (Fertitta bragging that they have every top-10 Fighter); see also
27   CSF ¶¶19-26 (discussing Zuffa’s control of top Fighters and dominance over other promoters).
     75
        Dr. Singer’s Output Market is conservative given his finding that non-Zuffa promoters are “inferior
28   substitutes from the perspective of audiences.” SR1 ¶119; see also CSF ¶¶1-6, 22-26.

                                                             26                     Case No.: 2:15-cv-01045-RFB-(PAL)
                           PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                              Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 43 of 64



 1   adequate substitutes by viewing audiences. See supra n.67 (relevant markets defined based on

 2   “reasonable interchangeability”). Zuffa has a dominant share of the Output Market, see, e.g.,

 3   SR1¶¶134-140; CSF ¶¶19-26, and therefore monopoly power.

 4           Zuffa raises three meritless challenges. 76 First, Zuffa complains that Dr. Singer defines the

 5   customers in the Output Market to include “viewers, cable networks, broadcast networks, and

 6   sponsors,” but assesses the substitutability of promoters only from the perspective of viewers. MSJ 19.

 7   But Dr. Singer’s focus on viewers is appropriate because the point of the Output Market is to determine

 8   whether Zuffa had the market power to harm consumer (i.e., viewer) welfare. In re NCAA I-A Walk-on,

 9   398 F. Supp. 2d at 1151 (“the test for harm to competition is whether consumer welfare has been

10   harmed” (citing Rebel Oil, 51 F.3d at 1433)). The Scheme harmed consumers by reducing output of

11   MMA events to end-customers, CSF ¶31 & n.53, and increasing prices to end-customers, CSF ¶31 &

12   n.54), and by diminishing the quality of MMA, CSF ¶30 & n.52—all cognizable anticompetitive

13   effects. 77 A firm capable of causing those anticompetitive effects has monopoly power. 78 Further,

14   demand by networks and sponsors ultimately depends on the demand by viewers, supporting Dr.

15   Singer’s approach. 79 Dr. Singer thus appropriately defines the bounds of “reasonable

16   interchangeability” from the perspective of consumers, i.e., MMA fans. SR1 ¶¶115-119.

17           Second, Zuffa’s lawyers argue without economist support that Dr. Singer’s Output Market is

18   “erroneous” because it “combines viewing events at a live venue with viewing events on PPV or

19   broadcast television, while concluding the geographic market is North America.” MSJ 19. But the

20   customers in the relevant geographic output market are viewers generally. That a handful of fans who

21   live near the venue could attend in person or watch on television does not require two separate

22
     76
        Zuffa also argues that Plaintiffs “have not sought to define a market of sellers in the output market . .
23   . and instead have improperly tried to define the market by identifying athletes who should be included
     in the market.” MSJ 17. That argument is similar to Zuffa’s arguments concerning the Input Market
24   and fails for the same reasons. See supra 20-26; see also SR1 ¶119; cf. SR1 Figs.4A-C (analyzing
     supply of live MMA events in Output Market in terms of promoters).
25   77
        See FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 460-61 (1986) (“reduction of output” is an
     anticompetitive effect); Cal. Dental Assoc. v. FTC, 526 U.S. 756, 777 (1999) (“artificially raising
26   prices” is an anticompetitive effect); Le, 216 F. Supp. 3d at 1169 (suppressed output sufficient).
     78
        See Ind. Fed’n of Dentists, 476 U.S. at 460 (market power is a “surrogate” for anticompetitive
27   effects); SMS Sys. Maint. Servs., Inc. v. Digital Equip. Corp., 188 F.3d 11, 16 (1st Cir. 1999)
     (monopoly power is “having sufficient economic muscle” to cause anticompetitive effects).
28   79
        See, e.g., Singer Tr. 548:14-549:15; id. 543:17-23; id. 555:1-9; id. 555:10-20.

                                                          27                       Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 44 of 64



 1   geographic markets. See, e.g., McNeil, 790 F. Supp. at 891; Int’l Boxing, 358 U.S. at 250-51. 80

 2            Third, Zuffa asserts that it competes not only with other promoters, but also “with a broad

 3   spectrum of sports entertainment.” MSJ 19. But see NCAA v. Bd. of Regents of the Univ. of Okla., 468

 4   U.S. 85, 111-12 (1984) (rejecting the NCAA’s contention that it competes with other programming as

 5   inconsistent with Int’l Boxing). Dr. Singer analyzes such alleged competition and concludes that no

 6   other sport or entertainment content competes with Zuffa. See CSF ¶27. Moreover, Zuffa admits that

 7   there is little crossover between the audience of MMA and other sports and entertainment. 81

 8        B. Plaintiffs Have Shown Zuffa’s Monopsony Power and its Anticompetitive Effects
 9            As discussed supra Sec.IV.A.i (Zuffa has dominant shares of the Input Market and Submarket),

10   and further below, Zuffa’s Scheme afforded it substantial market power in the Input Market, enabling

11   Zuffa to restrict Fighter mobility and suppress Fighter compensation. CSF ¶¶4-12, 19-31. That is

12   sufficient to show monopsony power. See supra at 20. Zuffa argues that it has “many significant

13   competitors” who do not believe they are “fringe” or “minor league” promoters. MSJ 20. But, again,

14   the evidence—including Zuffa’s own admissions—contradicts Zuffa’s assertion. CSF ¶¶23-26; see also

15   Sec.IV.A.i supra. Zuffa contends that “competitors have access to numerous [Fighters], including those

16   who previously competed for the UFC.” ZSUF ¶¶21-27; MSJ 21. But that is irrelevant because: (a)

17   Zuffa admits that it has never lost a Fighter it wanted to keep, CSF ¶20 & n.35, and thus all Zuffa has

18   shown is that when it cuts Fighters they end up in the minor leagues; (b) Zuffa admits that it has the

19   “                             ,” CSF ¶¶4, 19-22; and (c) other MMA promoters have access only to

20   “minor league” Fighters. CSF ¶¶22-26. “The proper inquiry is not whether [the available unforeclosed

21   inputs] enable a competitor to ‘survive’ but rather whether [such inputs] ‘pose[] a real threat’ to

22   defendant’s monopoly.” Dentsply, 399 F.3d at 193 (quotation omitted). Indeed, if Zuffa were losing

23   Fighters who are highly-ranked or generate significant revenues, its Foreclosure Share would have

24   fallen. But Dr. Singer shows the opposite. 82 That other promoters have access to Fighters that Zuffa no

25
     80
        Zuffa relies on Heerwagen v. Clear Channel Commc’ns, 435 F.3d 219, 228 (2d Cir. 2006), a case
26   that considered the relevant geographic market only for live attendance tickets for rock concerts. By
     contrast, UFC events feature both live attendances and television broadcast audiences.
27   81
        See, Ex.73 (                                                                        ); CSF ¶27. See
     also Ex.46; Ex.70 at -99; Ex.74 at -42-44. Third-party analyses concur. E.g., Ex.97 at -438.
28   82
        CSF ¶21; see also SR2 ¶51; Dentsply, 399 F.3d at 194 (failure of rivals to penetrate the market

                                                          28                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 45 of 64



 1   longer wants is consistent with its substantial monopsony power. CSF ¶¶20-21. 83

 2    C. Direct Evidence Establishes Zuffa’s Monopsony Power
 3          In addition to circumstantial evidence of monopsony power, see infra Sec.IV.D, which is

 4   sufficient by itself, Plaintiffs also provide direct evidence: that Zuffa could suppress compensation,

 5   restrict the purchase of MMA Fighter services, or exclude rivals because it did all three. 84 That direct

 6   evidence confirms Zuffa’s monopsony power.

 7                 i.       Zuffa Suppressed Fighters’ Wages.

 8                          a.      Plaintiffs’ Econometric Use of Wage Share Is Proper.
 9          The standard form of direct evidence of monopsony power is that a monopsonist suppressed
10   compensation below competitive levels. O’Bannon, 802 F.3d at 1070-71; In re High-Tech Employee
11   Antitrust Litig., 856 F. Supp. 2d 1103, 1123 (N.D. Cal. 2012). Plaintiffs show that if Zuffa had not
12   engaged in the Scheme, its Fighters would have received much higher pay. Plaintiffs measure how
13   much compensation Zuffa’s Fighters would have received in a more competitive market by using Wage
14   Share. CSF ¶¶28-29. Wage Share measures compensation as a percentage of revenue. It is a standard
15   measure of the effect of monopsony power on the compensation of professional athletes. SR2 ¶¶88-
16   109; SR3 ¶¶6-16; ZR2 ¶¶45-49; MR1 ¶¶5, 9-23, 31; SZDO at 10-25. Plaintiffs discuss the validity of
17   using Wage Share in this context at length in the SZDO and Class Reply and incorporate that here. Dr.
18   Singer conducts regression analyses to show that as Zuffa’s conduct foreclosed competition by signing
19   more and more top Fighters to Exclusive Contracts, the Wage Share Zuffa paid its Fighters decreased.
20   CSF ¶¶28-29. In other words, in a freer market—one in which Zuffa did not have such a lock on
21   available talent—the Fighters’ Wage Share would have been substantially higher. 85 Using Wage Share
22

23   substantially demonstrates market power).
     83
        Zuffa’s evidence of “substantial” mobility based on its reference to 70 Fighters who switched over a
24   6 year period, ZSUF ¶24 & ZExs. 86-87, MSJ 21, does not account for why those 70 Fighters left the
     UFC (e.g., whether the UFC cut them) or the relative value of those Fighters. See CSF ¶¶19-21. Zuffa
25   also references 72 Fighters who left Bellator for the UFC. ZSUF ¶24, MSJ 21, which merely confirms
     Bellator’s status as a minor (or feeder) league. See also CSF ¶¶23-26.
26   84
        See Rebel Oil, 51 F.3d at 1434; O’Bannon v. NCAA, 802 F.3d 1049, 1070-71 (9th Cir. 2015)
     (suppression of athlete compensation is sufficient by itself to demonstrate “an anticompetitive effect;”
27   purported requirement that plaintiffs must “show a decrease in output” is “simply incorrect”).
     85
        SR1 ¶¶190, 247-48 & Tbl. 9; SR2 ¶¶72-87, 176-82; ZR1 ¶¶104-39 & Tbls. 2-6; ZR2 ¶¶28-93; SR1
28   ¶¶190, 247-48 & Tbl. 9; SR2 ¶¶77-85, 176.

                                                          29                      Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 46 of 64



 1   in this way, Drs. Singer and Zimbalist show Zuffa Fighters would have received more money if not for

 2   its Scheme. CSF ifif28-29. 86

 3                          b.       Impact on Wage Share Shows Impact on Wages.

 4          Zuffa claims Plaintiffs have failed to show its conduct decreased compensation. MSJ 2-3, 21-

 5   23 . Not so. Drs. Singer and Zimbalist use Wage Share as a way to assess the effects of Zuffa 's conduct

 6   on Fighter compensation. Their ultimate conclusions are that if Zuffa had not engaged in the Scheme,

 7   Zuffa's Fighters would have received hundreds of millions dollars of additional money. CSF ,I29.

 8          Zuffa asse1ts that, in theo1y, Event Revenues could go up purely because of Zuffa's efforts, so

 9   Fighter Wage Share could decrease while Fighter compensation does not. MSJ 22. But Zuffa cites no

10   evidence it was responsible for a greater prop01iion of Event Revenues as Fighter Wage Share declined.

11   In contrast, Dr. Singer controls for any shift in Zuffa's relative contribution to Event Revenues over

12   time. He demonstrates Zuffa's anticompetitive conduct decreased Fighter Wage Share, not some

13   speculative improving effo1i by Zuffa. SR2 ,nf5, 40, 74; SR3 ,I29; SR4 if34-40. 87 Zuffa also asse1is that

14   Fighter pay increased. MSJ 1-2, 4, 22. But that is inelevant. What matters is whether Zuffa's Fighters

15   would have received more compensation in a more competitive market. High-Tech, 856 F. Supp. 2d at

16   1123; Doe v. Arizona Hosp. & Healthcare Ass 'n ("Ariz. Nurses''), 2009 WL 1423378, at *3-4 (D.

17   Ariz. Mar. 19, 2009). Drs. Singer and Zimbalist show Fighters would have. CSF ,nf28-29. 88 Plaintiffs

18   thus establish the Scheme caused them antitrnst injmy. 89

19          Zuffa, citing Verizon Communications Inc. v. Law Office of Curtis V. Trinka, LLP, 540 U.S .

20

21   86 Comts have also endorsed using Wage Share to assess the competitiveness of athlete compensation .

     See White v. NCAA, 2006 WL 8066803, at *5 & n.4 (C.D. Cal. Oct. 19, 2006) (comparing player
22   expenditures as percent ofrevenue in the NCAA with that of professional athletes).
     87 Dr. Singer, in fact, evaluated empirically Zuffa 's speculation that its suosedly increased
23   promotional or other event-related spendino could have caused Zuffa 's            of Event Revenues
     between 2007 and 2016. and fom1d that'
24                                            "         . e a so ran a regress10n es mg w e er c anges m
       u a s promo 10na spen mg a any effect on his analysis of the link between increasing foreclosure
25   share and falling Wage Share, and he found that it did not. SR3 ,I33; see also SR4 ,r,r 2 1-33.
     88 Zuffa contends it paid Fighters more than other promoters. MSJ 5, 22. That too addresses the wrong
26   issue. Zuffa's market power allowed it to become and remain the only "major league" for MM.A. CSF
     1119-26. That it may have paid Fighters more than "minor league" promoters is i1Televant.
27      So the standard set out in Zuffa's cited cases, MSJ 14, is satisfied. Magnetar Techs. Corp. v. Intamin,
     Ltd., 801 F.3d 1150, 1160 (9th Cir. 2015); Am. Ad. Mgmt. Inc. v. Gen. Tel. Co. of Cal., 190 F.3d 1051 ,
28   1055 (9th Cir. 1990).

                                                           30                         Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                             Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 47 of 64



 1   398, 407-08 (2004), claims Plaintiffs ask this Court to act as a “central planner” in setting the Wage

 2   Share Zuffa must pay athletes. MSJ 23. Untrue. Plaintiffs ask the Court to stop Zuffa from engaging in

 3   its Scheme so that a freer market can set Fighter pay. That is consistent with established precedent. 90

 4                           c.      Zuffa’s “Sponsorship Tax” Confirms It Suppressed Wages.
 5           Dr. Singer finds further direct evidence of Zuffa’s monopsony power in a “natural experiment”

 6   involving a “sponsorship tax.” SR1 ¶¶191-92. One form of direct evidence of monopsony power is if

 7   Zuffa could decrease pay without losing a significant number of Fighters. Id. Beginning around 2009,

 8   Zuffa did just that. It imposed a “sponsorship tax,” requiring sponsors to pay Zuffa—not just

 9   Fighters—for the right to appear on Fighters’ uniforms. Id. Zuffa’s gain naturally was the Fighters’

10   loss, decreasing Fighter pay from sponsors and deterring some sponsors entirely. Id. Yet Zuffa

11   experienced no significant number of defections. Id. Zuffa speculates some its Fighters might have

12   experienced some offsetting gains in compensation, MSJ 24, but it offers no evidence that occurred.

13                ii.        Zuffa Restricted the Output of Fighter Services.
14           Dr. Singer shows Zuffa decreased the output of Fighter services by “shelving” Fighters—

15   locking them up in Exclusive Contracts and providing them insufficient bouts. SR1 ¶¶145-46, 193-96.

16   Zuffa pays Fighters only when they compete. Id. ¶195. So Zuffa did not pay “shelved” Fighters and

17   prevented other promoters from doing so. Id. ¶¶195-196. Even Joe Silva, Zuffa’s long-time

18   matchmaker, complained Zuffa had more Fighters under contract than fights to give them. Id. ¶194

19   (citing, e.g., J. Silva Tr. 257:8-15). The result was that Zuffa offered fewer pay-per-view events and

20   fewer live MMA events occurred than would have in a competitive market. Id. ¶¶148, 202-08. Zuffa

21   ignores this evidence, noting Plaintiffs’ claim that “Zuffa maintains an excess supply of athletes.” MSJ

22   25. But, again, Zuffa “shelved” Fighters, locking them up, denying them bouts and restricting supply

23   and output, SR1 ¶¶145-46, 193-96; SR2 ¶42-43, confirming its monopsony power. Theme Promotions,

24   Inc. v. News Am. Marketing, 546 F.3d 991, 1001 (9th Cir. 2008); Rebel Oil, 51 F.3d at 1134; High-

25
     90
        High-Tech, 856 F. Supp. 2d at 1123 (quoting Ariz. Nurses, 2009 WL 1423378, at *4); see also id.
26   (citing Ostrofe v. H.S. Crocker Co., Inc., 740 F.2d 739, 42-43 (9th Cir. 1984)) (“The Ninth Circuit has
     held that, where … an employee is the direct and intended object of an employer’s anticompetitive
27   conduct, that employee has standing to sue for antitrust injury.”). Trinko’s “central planning”
     discussion concerned “enforced sharing” of Verizon’s network with competitors, see 540 U.S. at 408,
28   and did not “abrogate long-standing jurisprudence” relating to exclusive-dealing and monopolization
     claims. See In re Dealer Management Sys. Antitrust Litig., 313 F. Supp. 3d 931, 956 (N.D. Ill. 2018).
                                                         31                       Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
         Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 48 of 64



 1   Tech, 856 F. Supp. 23 at 1122-23. Courts recognize when monopsonists suppress the prices they pay,

 2   they often reduce purchases, supply, and output, In re Beef Antitrust Litig., 907 F.2d 510, 516 (5th Cir.

 3   1990), and Dr. Topel admits the same relationship. Topel Tr. 475:6-15.

 4               iii.         Zuffa Excluded Rivals.
 5           Evidence also establishes Zuffa excluded rivals, depriving them of a critical mass of marquee

 6   Fighters so that only Zuffa could hold “major league” events and had no actual competitors for

 7   Fighters’ services. CSF ¶¶19-26, nn.36, 39. Using the Scheme to starve rivals of               ” in the form

 8   of top Fighters, Zuffa was able to force existing rivals out of business and prevent any potential rivals

 9   from gaining “           .” CSF ¶6. And, then, after wounding its potential rivals, it bought them out and

10   shut them down. CSF ¶¶13-18. As Coker wrote before Zuffa acquired Strikeforce in 2011, “

11                                                                                                     ” CSF ¶17.

12       D. Circumstantial Evidence Demonstrates Zuffa’s Monopsony Power
13           In addition to direct evidence of Zuffa’s monopsony power, Plaintiffs also provide

14   circumstantial evidence—which is by itself sufficient. Rebel Oil, 51 F.3d at 1434. Direct evidence

15   shows Zuffa could suppress wages or restrict supply by demonstrating Zuffa did suppress wages and

16   restrict supply. Id. On the other hand, circumstantial evidence relies on market conditions to show that

17   Zuffa had monopsony power in the relevant markets. See supra Sec.IV.A. Plaintiffs have defined

18   proper antitrust markets and showed Zuffa’s dominant shares of those markets. Id. That is enough.

19           Zuffa claims, incorrectly, that Plaintiffs have failed to show high barriers to entry. MSJ 25. In

20   fact, extensive evidence—including admissions from Zuffa’s own executives and bankers—shows that

21   “

22                      ” CSF ¶¶3-6, 22 & n.7. Further, on those occasions when potential competitors even

23   began to threaten Zuffa’s dominant position, it bought them out. CSF ¶¶13-18. So only Zuffa holds

24   “major league” MMA events. CSF ¶¶19-26. In response, Zuffa identifies various foreign and “minor

25   league” promoters as supposed evidence of market entry and expansion. MSJ 25-26. These arguments

26   miss the point. First, these entities are outside of the relevant market. Supra 20-27; CSF ¶26 & n.44.

27   More importantly, Zuffa offers no evidence that “minor league” promoters can mitigate its market

28   power. New entrants in foreign markets or the expansion of “minor league” MMA events cannot

                                                           32                      Case No.: 2:15-cv-01045-RFB-(PAL)
                           PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 49 of 64



 1   prevent Zuffa from suppressing Fighter compensation or restricting the supply of Fighter services at

 2   “major league” MMA events, just as an increase in the number of basketball games in a European

 3   league or G League would not affect the compensation of NBA players or the supply of their services

 4   in NBA games. 91

 5        E. Zuffa Has Engaged in Exclusionary Anticompetitive Conduct
 6            Zuffa also denies that it “willfully acquired or maintained” its monopsony power through its

 7   Scheme. However, the evidence shows various forms of cognizable anticompetitive conduct, including

 8   Exclusive Contracts, acquisitions of potential rivals, and coercion. The law requires that the Scheme

 9   and its effects be evaluated as a whole. 92 But even looking at it piecemeal—as Zuffa improperly

10   does—each element is anticompetitive.

11                  i.       Zuffa’s Exclusive Contracts Substantially Foreclosed Competition.
12            Zuffa does not contest that Plaintiffs can establish that Zuffa engaged in exclusionary

13   anticompetitive conduct if they show Zuffa’s Exclusive Contracts foreclosed a substantial share of the

14   relevant market. Zuffa asserts, however, that Plaintiffs assume rather than prove substantial foreclosure.

15   MSJ 29-30. 93 Not true. First, as discussed above, extensive evidence shows that Zuffa, its economic

16   advisors, and other market actors all recognized that one of Zuffa’s greatest assets was its ability to use

17   its Exclusive Contracts to foreclose competition, creating a powerful barrier to entry. See supra

18   Sec.II.B-C. Second, Dr. Singer demonstrated that Zuffa’s Exclusive Contracts, which last longer than

19   30 months (typically far longer, CSF ¶¶8-12), foreclose competition because, by various measures, they

20   last longer than the average Fighter’s career, CSF ¶9 & n.20, and are effectively perpetual. CSF ¶¶11-

21   12. Third, Dr. Singer’s regression analyses show that as Zuffa’s Foreclosure Share increased, its Wage

22   Share decreased as a result. CSF ¶28. Zuffa concedes this effect. Id. Dr. Singer’s analyses demonstrate

23
     91
        Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1208 (9th Cir. 1993) (MSJ 25), does
24   not help Zuffa because the evidence shows high barriers to entry.
             The equitable relief Plaintiffs seek would lower these artificial barriers to entry. If, for example,
25   Zuffa’s contracts were limited to a single year and ended at the same time, or if Zuffa were forced to
     co-promote events and prevented from acquiring potential rivals, other promoters could potentially
26   compete for Fighters’ services at “major league” MMA events. See, e.g., SR2 ¶¶187-98; CSF ¶32.
     92
        Le, 216 F. Supp. at 1168 (quoting Costco Wholesale Corp. v. Maleng, 522 F.3d 874, 886 (9th Cir.
27   2008) (“[I]n the antitrust context, the ‘character and effect of a conspiracy are not to be judged by
     dismembering it and viewing its separate parts, but only by looking at it as a whole.’”).
28   93
        Zuffa made the same argument in its Daubert motion, Plaintiffs pointed to extensive evidence that
     contradicted Zuffa’s position; Zuffa ignores that evidence here. SZDO 25-29; Class Reply 9-12.
                                                           33                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 50 of 64



 1   that Foreclosure Share—as he defines it—explains variations in Zuffa’s Wage Share. SR1 ¶186; SR2

 2   ¶36. Zuffa’s foreclosure and monopsony power enabled it to suppress compensation. CSF ¶¶28-29.

 3   Zuffa offers no credible alternative explanation for the success of Dr. Singer’s analyses. SZDO 25-26.

 4           Zuffa contends Dr. Singer fails to quantify Zuffa’s Foreclosure Share accurately, MSJ 31-33,

 5   relying on Zuffa’s familiar false premises: (1) all MMA Fighters are equivalent: and (2) all MMA

 6   promoters are equivalent. ZSUF ¶¶18-28. As to the first point, Zuffa notes it had on average under

 7   contract only about 18% of all Fighters in the “Ranked” market and never more than 22%. That

 8   analysis is flawed because, as discussed above (at 26), it is wildly over-inclusive of Fighters and

 9   because it fails to weight Fighters based on their value in the market. CSF ¶¶1-2. The term “Ranked”

10   includes the top 650 Fighters in each weight class. SR1 ¶99. Zuffa’s analysis thus treats the 650th

11   flyweight Fighter equally to the best heavyweight Fighter in the world. Dr. Singer avoids this error in

12   two ways. First, he relies on the most appropriate market—the “Headliner” submarket, including the

13   top 15 Fighters per weight class—as well as the second-most appropriate market—the “Tracked”

14   market, intermediate between Ranked and Headliner—and analyzes the Ranked market only to show

15   that even a very broad market definition confirms Zuffa’s market power. Id. Second, Dr. Singer

16   appropriately does not weigh all athletes equally. He weights Fighters based on their rank (for the

17   Headliner submarket) and, alternatively, based on the revenues generated by the promoter for which

18   they fought (Headliner, Tracked, and Ranked). Id. ¶¶128-29; SR2 ¶59, 128-37, 144-48. Dr. Singer’s

19   empirical analyses show that Fighter compensation is largely determined by rank, and thus that rank is

20   key in assessing the value of Fighters. See supra n.46; CSF ¶¶2-3, 28. As a matter of economics, a

21   Foreclosure Share of 20-40% is considered sufficient to infer anticompetitive effects. SR1 ¶168. 94 Dr.

22   Singer finds, for all of his market definitions, that Zuffa’s Foreclosure Share was always at least        %

23   during the Class Period and generally much higher—as high as           %. CSF ¶21. 95

24           Zuffa also errs by treating all promoters as equivalent. That is wrong for similar reasons: a

25

26   94
        See also Twin City, 676 F.2d at 1298 (24 percent unlawful); Luria Bros. & Co. v. Federal Trade
     Commission, 389 F.2d 847, 864-65 (3d Cir. 1968) (condemning over 30 percent as unlawful); Mazda v.
27   Carfax, Inc., 2016 WL 7231941 (S.D.N.Y. Dec. 9, 2016) (same).
     95
        Zuffa’s efforts to argue to the contrary by treating all Fighters as equal is untenable. Indeed, Zuffa
28   itself admitted in its Daubert motion that Fighters should be “weighted,” and not all treated as the
     same. See SZDO 48-49; CSF ¶¶1-2.
                                                           34                       Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                              Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 51 of 64



 1   promoter is only as good as the group of Fighters it has under contract. CSF ,i,rl-6. Just as in Dentsply:

 2   "The reality in this case is that the fnm that ties up the key [Fighters] mies the market." 399 F.3d at

 3   190. Extensive evidence shows Zuffa's Scheme enabled it to lock up the vast majority of top-level

 4   Fighters, and thus become and remain the "major league" ofMMA. Zuffa itself compared Strikeforce

 5   at its peak in popularity to a "Double-A" MLB team and regional MMA promotions to "Frum

 6   Leagues." SRI ,I106 & nn.285-86; CSF ,I,I23-25. So Dr. Singer is cotTect to measure the average

 7   professional cai·eer in te1ms of tenure in the UFC, the only "major league" MMA promoter. See supra

 8   3 3 & n.20. 96 Zuffa denies reality by defining MMA career length to include every bout by a UFC

 9   Fighter, including bouts in promotions that Zuffa itself described as "minor league." See id.97 Zuffa

10   similarly claims in its brief that Fighters who leave the UFC for Bellator continue their "major league"

11   careers. MSJ 32-33. But as Zuffa has admitted, '

12                                                    " CSF ,I,I20, 26. 98

13          Zuffa also argues that its Exclusive Contracts ai·e too sho1i to haim competition. MSJ 30. But

14   the evidence is that they are not sho1i-te1m and, in any event, do harm competition. First, Zuffa

15   concedes for the purposes of this motion that its Exclusive Contracts have te1ms of at least thi1iy

16   months, 99 which is longer than the average Fighter's career. CSF ,I9 & n.20. Zuffa cites a handful of

17

18

19
         u a 1 en 1 1es o pmpor e          aws m r. mger s Foreclosure Share analysis. MSJ 32. Zuffa
20   notes that the average time a Fighter is under contract with Zuffa-median of 0.8 years and mean of 2
     years-is less than the 30 month contract that Dr. Singer treats as adding to Foreclosure Share under
21   one of his models. But that is not a flaw. That Zuffa often cut Fighters and relegated them to the
     minors-likely when they were not free to leave on their own-in no way unde1mines Dr. Singer' s
22   model. Nor do Fighters' short careers make it a problem-as Zuffa asserts but does not explain-that
     Dr. Singer does not include time Fighters spend in the "minor leagues." To the contrary, given that
23   most Fighters who make the UFC do so only ve1y briefly confnms how little of an impact they ai·e
     likely to have on the UFC's monopsony power and compensation.
24   98 The UFC admitted it was able to hire all or vi1iually all of the Fighters it wanted. Dana White

     explained, "
25                                                                    " Exs.66 -90.
      9
        Zuffa argues that the term is less than 30 months because Fighters can sign with another promoter
26   during the right to match period. MSJ n.7. Zuffa is wrong because Zuffa had the contractual ability to
     keep any fighter it wished. That fighters left for other promoters during the right to match period means
27   that Zuffa did not want that Fighter. See CSF ,I20. The "relevant inquiry" is whether the fighters "could
     get out the[ir] agreements on sho1t notice," not whether the UFC could te1minate the fighter. Masimo
28   Co1p. v. Tyco Health Care Grp. L.P. , 2006 WL 1236666, at *7 (C.D. Cal. Mar. 22, 2006).

                                                          35                      Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 52 of 64



 1   inapposite cases finding that contracts longer than 30 months were not anticompetitive, MSJ 30-31, but

 2   courts have noted that the length of an exclusive agreement “is not dispositive of whether it violates”

 3   the Sherman Act, even if the contract “is terminable at will.” Am. Express Travel Related Servs. Co. v.

 4   Visa U.S.A., 2005 WL 1515399, at *6 (S.D.N.Y. June 23, 2005). Courts have condemned exclusive

 5   dealing with relatively short durations, especially where, as here, those contracts foreclose a large

 6   portion of the market, or there are, as here, other impediments to switching or evidence of

 7   anticompetitive effects. 100 Thus, “the relevant question is whether [when the term is up], . . . looking at

 8   both contract terms and other impediments to switching, that the fact finder can conclude that there is a

 9   realistic opportunity for a new rival to enter the market or an existing rival to expand.” Antitrust Law

10   ¶1821 (emphasis added); see also Yeager’s Fuel, Inc. v. Pa. Power & Light Co., 953 F. Supp. 617, 658-

11   60, 663 (E.D. Pa. 1997) (difficulty of terminating a contract can make de facto length much longer).

12          In practice, Zuffa exploited its monopsony power through coercion, threats, and aggressive

13   enforcement to make its contracts effectively perpetual. CSF ¶¶11-12. Due to the Scheme, Zuffa has

14   admitted that                                                                      CSF ¶20. In contrast to

15   the cases cited by Zuffa, MSJ 30-31, here Plaintiffs have shown that Zuffa has market power and that

16   its contracts substantially foreclosed competition by ensuring that no rival could obtain a critical mass

17   of top Fighters. CSF ¶¶6-12. Zuffa accomplished this, among other ways, by locking up the vast

18   majority of top Fighters, including provisions that gave it the power to extend contracts perpetually,

19   ensuring that contract end dates were “            ” and that the most valuable Fighters were locked up

20   for the longest terms. 101 Finally, because the Scheme relegated all of Zuffa’s rivals to the “minors,”

21
     100
         See, e.g., U.S. v. Int’l Boxing Club, Inc., 150 F. Supp. 397, 400, 412, 417-418 (S.D.N.Y. 1957)
22   (condemning scheme that involved signing 4 championship-contender boxers to two-year exclusive
     contracts, with options to renew for additional two-year terms; and requiring contenders for a title to
23   sign a champion’s clause requiring three to five years of exclusivity for title bouts); U.S. v. Int’l Boxing
     Club of N.Y., Inc., 171 F. Supp. 841, 842 (S.D.N.Y. 1957), aff’d by Int’l Boxing, 358 U.S. 242 (1959)
24   (implementing 5-year moratorium on all exclusive fighter contracts of any duration); FTC v. Motion
     Picture Adver. Serv. Co., 344 U.S. 392, 393-96 (1953) (condemning exclusive contract terms longer
25   than 1 year); Dentsply, 399 F.3d at 184, 185, 191, 193 (exclusivity policy imposed by manufacturer on
     its dealers violated Section 2 “despite the lack of long term contracts” and being “essentially terminable
26   at will” because the large market share “held by [defendant] and its conduct excluding competing
     manufacturers … realistically make the arrangements as effective as [long term] contracts[,]” it was
27   “designed expressly to exclude its rivals[,]” and “[i]t helps keep sales of competing teeth below the
     critical level necessary for any rival to pose a real threat to [defendant’s] market share”).
28   101
         CSF ¶22; see, e.g., Dial Corp. v. News Corp., 165 F. Supp. 3d 25, 31-32 (S.D.N.Y. 2016) (denying

                                                          36                       Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 53 of 64



 1   Fighters lacked the practical ability to switch, even when their contract came up for renegotiation. 102

 2   Top fighters would leave Zuffa only for a promotion that had amassed a “

 3           ” CSF ¶¶3-5. The Scheme left no such promoter other than Zuffa, CSF ¶¶19-26, and so none

 4   had “sufficient opportunity to compete for each contract at the time it is signed.” 103

 5                ii.       Zuffa’s Acquisitions and Coercion Harmed Competition.
 6                          a.      Zuffa’s Acquisitions Eliminated Potential Rivals.
 7          Zuffa does not deny that it acquired other MMA promoters, including the ones that posed the

 8   largest potential competitive threats. But it cites U.S. v. Syufy Enterprises, 903 F.2d 659 (9th Cir.

 9   1990), arguing its acquisitions caused no anticompetitive harm. MSJ 34-35. That argument fails for two

10   reasons. First, it treats the acquisitions in a vacuum rather than appropriately as part of Zuffa’s Scheme.

11   The acquisitions compounded the effects of the other aspects of the Scheme, eliminating rivals—and

12   thus leaving Fighters no choice but to stick with the UFC—and depriving other promoter of a critical

13   mass of top Fighters. CSF ¶¶13-18. Second, in Syufy, the defendant acquired several movie theatres,

14   giving it a dominant share of the Las Vegas theatre market. Id. at 664-65. However, there was no

15
     summary judgment where plaintiff offered “evidence that [defendant] intentionally staggered the end
16   dates of key contracts to prevent competitors from acquiring a ‘critical mass’ of retail distribution”).
     102
         See Pro Search Plus, LLC v. VFM Leonardo, Inc., 2013 WL 6229141, at *6 (C.D. Cal. Dec. 2,
17   2013) (“monopoly makes dealing with [defendant] an economic necessity and makes the cost of
     switching prohibitive”).
18   103
         MSJ 30; ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 284 (3d Cir. 2012) (“[I]f the defendant
     occupies a dominant position in the market, its exclusive dealing arrangements invariably have the
19   power to exclude rivals.” (citing Tampa Electric Co. v. Nashville Coal Co., 365 U.S. 320, 329 (1961)).
     Zuffa’s use of its Scheme to achieve market dominance distinguishes this case from the ones it cites.
20   MJ 28-31: Omega Envtl v. Gilbarco, Inc., 127 F.3d 1157, 1162 (9th Cir. 1997) (no substantial
     foreclosure); E. Food Servs., Inc. v. Pontifical Catholic Univ. Servs. Ass’n, 357 F.3d 1, 8 (1st Cir.
21   2008) (same); Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 1002 (9th
     Cir. 2010) (no exclusion of competitors); Ferguson v. Greater Pocatello Chamber of Commerce, Inc.,
22   848 F.2d 976, 982 (9th Cir. 1988) (no evidence that a single six-year exclusive lease agreement
     foreclosed competition or otherwise harmed competition); Golden Boy, 2017 WL 460736, at *12, 14
23   (very low barriers to entry in relevant market, no market power, and no evidence as to the prevalence of
     5-year agreements in the relevant market); Ticketmaster Corp. v. Tickets.com, Inc., 2003 WL
24   21397701, at *4 (C.D. Cal. 2003) (defendant lacked power to exclude competitors and did not impair
     rival’s ability to compete for contracts); Methodist Health Servs. Corp., v. OSF Healthcare Sys., 859
25   F.3d 408, 410-11 (7th Cir. 2017) (“no evidence that [the] exclusive contracts have a significant
     exclusionary effect” or “could have caused prices to rise”).
26           Zuffa claims that Gen. Bus. Sys. v. N. Am. Phillips Corp., 699 F.2d 965, 979 (9th Cir. 1983), in
     effect reverses exclusive dealing doctrine, giving Zuffa immunity for locking up the top MMA
27   Fighters. MSJ 33. In fact, the cited page held that the plaintiff there failed to define a market and
     establish market power. See Image Tech. Servs., Inc. v. Eastman Kodak, 903 F.2d 612, 617-18 (9th Cir.
28   1990) (Philips found plaintiff had “not presented facts from which [market power] could be inferred”).

                                                          37                       Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 54 of 64



 1   evidence of barriers to entry or anticompetitive harm. Id. at 661. Here, in contrast, Plaintiffs show both.

 2   See supra Secs.II.A, II.C, II.D, IV.B-E, IV.H-I. So Syufy supports Plaintiffs. 104 Zuffa also relies on

 3   supposed entry into the market and expansion by competitors, although it does not explain the

 4   significance of those alleged facts. MSJ 35. Whatever Zuffa’s point, it fails because it too rests on the

 5   false premise that all promoters and events are the same. Again, the expansion of “minor league” MMA

 6   events does not diminish Zuffa’s market power. 105

 7                          b.        Zuffa’s Coercion Supported the Exclusive Contracts.
 8          Plaintiffs have extensive evidence that Zuffa used its monopsony power to coerce Fighters into

 9   signing new, long-term Exclusive Contracts before their current contracts ended, allowing Zuffa in

10   effect to control Fighters for as long as it wanted. CSF ¶¶11-12. The tools Zuffa used include

11   threatening or imposing delays between bouts, forcing Fighters to fight undesirable opponents,

12   depriving Fighters of title opportunities, or placing them on undesirable positions on a card, in addition

13   to using various contractual provisions to prevent Fighters from participating in events and getting paid.

14   Id. Even Zuffa’s own matchmaker, Joe Silva, admitted

15

16                               . CSF ¶12. Zuffa ignores this, pretending that Plaintiffs complain only about

17   “mean tweets or insulting language,” MSJ 35, or that Zuffa used additional pay as a way to encourage

18   Fighters to re-sign. Zuffa’s failure to respond to Plaintiffs’ actual evidence of Zuffa’s coercive use of

19   market power is tantamount to an admission it cannot do so. 106 Together with the other conduct, the

20
     104
         Zuffa also may be implying that Plaintiffs have not shown anticompetitive harm specifically from
21   the acquisitions, although it is unclear on this point. MSJ 34-35. Regardless, Zuffa’s acquisitions forced
     Fighters into its anticompetitive, exclusionary contracts, so Plaintiffs have shown the acquisitions were
22   anticompetitive and they contributed to its overall anticompetitive scheme. Singer Tr. 251:10-254:9;
     CSF ¶¶13-18. Plaintiffs here do not bring a Section 7 claim and rely on Zuffa’s acquisitions only as
23   part of its larger Scheme, so Boardman v. Pac. Seafood Grp., 822 F.3d 1011, 1021 (9th Cir. 2016)
     (MSJ 34), is inapposite.
24   105
         Sterling Merch, Inc. v. Nestle, S.A., 656 F.3d 112 (1st Cir. 2011) (MSJ 35), does not support Zuffa’s
     position because, among other reasons, the plaintiff there failed to show a reduction in output or an
25   increase in prices, impairment of competition, or monopoly power. Id. at 122-24. Plaintiffs here have
     extensive favorable evidence on all of those issues. See supra II.A, II.C-D, IV.B-D, IV.H-I.
26   106
         Zuffa cites various irrelevant cases. Weyerhauser Co. v. Ross-Simmons Hardwood Lumber Co., 549
     U.S. 312 (2007) (MSJ 2, 13, 31, 35), involved allegations of predatory bidding—a claim about a
27   defendant paying high prices to lead to anticompetitive result. Here, in contrast, Zuffa pays
     anticompetitive low prices to Fighters (and charges inflated prices to its buyers), conduct much more
28   suspect under antitrust law. Balaklaw v. Lovell, 14 F.3d 793 (2d Cir. 1994), involved a dispute over

                                                           38                      Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                              Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 55 of 64



 1   coercion enhanced the anticompetitive effects of the Scheme.

 2    F. Zuffa Has Not Shown Its Exclusive Contracts Had Procompetitive Effects
 3          Because Plaintiffs have shown the Scheme caused anticompetitive effects, the burden shifts to

 4   Zuffa to establish “procompetitive justifications” for the Scheme. O’Bannon, 802 F.3d at 1072. It fails

 5   to do so. Zuffa suggests it retains more athletes than it needs under its Exclusive Contracts to guard

 6   against injuries. MSJ 33-34. Doing so, it claims without citing any supporting evidence, has increased

 7   MMA output and quality. Id. The first problem with that argument is that it confirms that Zuffa’s

 8   Exclusive Contracts restrain competition. Zuffa denies its Exclusive Contracts reduce purchases of

 9   Fighter services. MSJ 24-25. But its position is self-contradictory. If its contracts lock up extra Fighters

10   in case of injury, fewer Fighters are available to other MMA promoters. See supra Sec.IV.C.ii.

11   Alternatively, if the Fighters would not participate in MMA bouts anyway, Zuffa has no need to lock

12   them up. Zuffa cannot have it both ways. In any event, Dr. Topel admitted Zuffa’s Exclusive Contracts

13   are “restrictions on athlete mobility,” and prevent a “transfer of wealth” to Fighters. CSF ¶¶8, 28. The

14   second problem with Zuffa’s position is that it is pretextual: evidence shows the real reason Zuffa

15   locked up top Fighters was to deprive potential rivals of a critical mass of top Fighters, the “         ”

16   they needed to compete. CSF ¶6; see also id. ¶32. The third problem is its lack of evidence. Zuffa cites

17   some evidence for the obvious proposition that Fighters get injured (although evidence shows events

18   can go forward anyway, SR2 ¶42). But Zuffa cites no evidence that locking up Fighters and preventing

19   them from fighting—except if there is an injury—increases output or quality, as Zuffa asserts. MSJ 33-

20   34. 107 In contrast, there is extensive evidence that the opposite is true: Zuffa’s Exclusive Contracts and
21
     which group of doctors would have an exclusive contract, not a challenge to exclusive dealing
22   generally, and involved no evidence that there was substantial market foreclosure resulting in wage
     suppression, price inflation, or decreased output. Race Tires Am. Inc. v. Hoosier Racing Tire Corp., 614
23   F.3d 57 (3d Cir. 2010), is inapposite because there the defendant, unlike Zuffa here, established
     procompetitive benefits from its conduct, id. at 80-83, the plaintiff there had the opportunity to
24   participate in a competitive market (as in Balaklaw, the plaintiff competed for the exclusive contract),
     id. at 83-84, whereas the Fighters here have been deprived of competition for their services, and
25   Plaintiffs here, unlike the plaintiff there, have shown coercion, which supports a Section 2 claim. Id. at
     77-79. Similarly, It’s My Party, Inc. v. Live Nation, Inc., 811 F.3d 676 (4th Cir. 2016), is inapplicable
26   because, unlike here, there plaintiffs failed to define a proper market, in part because the claims
     implicated only live attendance at concerts, not as here purchases of broadcasts of events nationally, id.
27   681-82, and the plaintiff brought tying claims without evidence of tying. Id. 683-87.
     107
         Zuffa cites Haagen-Dazs Co. v. Dble. Rainbow Gourmet Ice Creams., Inc. 895 F.2d 1417 (9th Cir.
28   1990) (not for publication/citation, 9th Cir. R. 36-3(c)) and Race Tires, 614 at 82, arguing “the

                                                          39                      Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 56 of 64



 1   other anticompetitive behavior decreased the output of MMA events. CSF ¶31 & n.53. That makes

 2   sense. The record is replete with evidence that the true purpose of Zuffa’s Exclusive Contracts is to

 3   prevent rivals from gaining “        ,” creating artificial barriers to entry that Zuffa itself

 4   acknowledged. CSF ¶¶3-6, 19-26. 108 The evidence shows Zuffa “pursued a deliberate strategy of

 5   restricting the number of career paths available to Fighters,” SR2 ¶43; SR1 ¶196, evidence that Zuffa

 6   ignores. 109 And, indeed, Drs. Singer and Zimbalist show that Zuffa’s resulting monopsony power

 7   allowed it to decrease the purchase of Fighter services and suppress Fighter compensation. CSF ¶¶28-

 8   29, 31; see also supra 31-32; SR2 ¶42. Zuffa’s monopoly power similarly enabled it to decrease the

 9   sale of MMA events and inflate prices to consumers. CSF ¶31 & nn.53-54. That conduct is textbook for

10   a monopsonist. SR2 ¶42 & n.149. Zuffa’s conduct thus decreased output of pay-per-view MMA events

11   between 2010 and 2015 and decreased industry output of live MMA events by restricting the output of

12   other promoters. SR1 ¶¶148, 203-208; SR2 ¶268; CSF ¶31 & n.53. Moreover, the history of other

13   professional sports leagues shows increased competition for athlete services improves athletic

14   performance. 110

15

16   expansion of output and adherence to high quality” are business justifications, MSJ 33-34, but Zuffa
     has shown neither, rendering those cases and Image Tech., 125 F.3d at 1212 (MSJ 33), inapposite.
17   108
         Indeed, Zuffa offers no explanation for how the right to match and champion’s clause are necessary
     to ensure fighters are available to replace injured athletes, which demonstrates the pretextual nature of
18   this purported business justification. See Dentsply, 399 F.3d at 196-97 (purported business justifications
     can be rejected if they are “inconsistent with [the defendant’s] announced reason for the exclusionary
19   policies, its conduct enforcing the policy, [and] its rival suppliers’ actions”).
     109
         Zuffa also claims that Exclusive Contracts are widely used by other MMA promoters. ZSUF ¶16.
20   This is both disputed and misleading, as the evidence shows both that other promoters were willing to
     co-promote or relax exclusivity, and also that other promoters
21                                                   . CSF ¶10. And, even if it were true, it would not mean the
     Scheme was procompetitive. Twin City, 676 F.2d at 1305 (“an industry-wide practice would not justify
22   what has clearly been shown to be unjustifiably anticompetitive”).
     110
         SR1 ¶¶286-290; ZR1 ¶¶79-80, 83-84; ZR2 ¶¶90, 99-102; CSF ¶33 & n.50. Finally, Zuffa ignores
23   that Plaintiffs have offered substantially less restrictive alternative to Zuffa’s Exclusive Contracts,
     which would still achieve Zuffa’s purported procompetitive aims. See O’Bannon, 802 F.3d at 1074.
24   Contracts that are limited to twelve months, and do not have a right to match, exclusive negotiation
     rights, or a champion’s clause, and involve no coercion to re-sign could provide Zuffa with equivalent
25   protection against injuries, but without the anticompetitive effects. CSF ¶32 & n.56. Shorter contracts
     would allow competition over Fighter compensation, SR1 ¶264, increasing pay and improving MMA
26   output and quality. SR1 ¶¶286-290; ZR1 ¶¶79-80, 83-84; ZR2 ¶¶90, 99-102. Similarly, if Zuffa were to
     co-promote events—so Zuffa Fighters could have bouts with, say, Bellator Fighters—Zuffa could
27   address its concern about injured athletes and allow competition for Fighter services that would drive
     up Fighter compensation closer to competitive levels, increase the output of MMA events, and let the
28   market ensure the highest quality bouts occur. CSF ¶5 & n.9; id. ¶¶28-32; SR2 ¶¶196-97, 221-26.

                                                          40                        Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 57 of 64



 1     G. Zuffa Irrelevantly Addresses a Predatory Hiring Claim that Plaintiffs Do Not Assert
 2          Zuffa pretends Plaintiffs are pursuing a predatory hiring claim. MSJ 26-28. They are not.

 3   Predatory hiring looks like active competition—aggressive efforts to hire that increase worker mobility

 4   and may initially increase compensation—but that can eventually cause anticompetitive effects. Courts

 5   are skeptical of predatory hiring claims—just as they are of predatory pricing claims. Unlike the

 6   aggressive poaching of rivals’ workers in predatory hiring, Zuffa has severely limited rivals’ ability to

 7   poach its Fighters and thus Fighter mobility. 111 And unlike in Zuffa’s predatory hiring cases where

 8   there is no showing of market power or harm to competition, Zuffa’s Scheme here had demonstrable

 9   anticompetitive effects: foreclosing substantial competition, suppressing pay and inflating prices. 112

10     H. Zuffa’s Monopoly Power Contributed to its Monopsony Power
11          Zuffa asserts that Plaintiffs have “abandoned their monopolization theory.” MSJ 2, 36. That is

12   untrue. See supra 20, 26-27. Further, while monopsony power alone suffices for a Section 2 claim, 113

13   longstanding precedent in professional sports antitrust cases establishes that monopoly power in an

14
     111
         So the predatory hiring cases Zuffa cites are inapposite. Universal Analytics, Inc. v. MacNeal-
15   Schwendler Corp., 914 F.2d 1256, 1258 (9th Cir. 1990) (typical predatory hiring case with apparent
     competition over hiring); Harcourt Brace, 108 F.3d at 1153 (same); Taylor Pub. Co. v. Jostens, Inc.,
16   216 F.3d 465, 480 (5th Cir. 2000) (same); Midwest Radio Co. v. Forum Pub. Co., 942 F.2d 1294, 1297-
     98 (8th Cir. 1991) (same). Total Renal Care, Inc. v. W. Nephrology & Metabolic Bone Disease, P.C.,
17   2009 WL 2596493 (D. Colo. Aug. 21, 2009), is similarly irrelevant because plaintiffs there, unlike
     here, failed to define a market to show sufficient market power to suppress wages. Id. at *21-*27.
18   112
         See Wichita Clinic, P.A. v. Columbia/HCA Healthcare Corp., 45 F. Supp. 2d 1164, 1201 (D. Kan.
     1999) (noting noncompetition agreements “are strongly disfavored by the law”); Mercatus Grp., LLC v.
19   Lake Forest Hosp., 641 F.3d 834, 853-55 (7th Cir. 2011) (noting exclusive dealing contracts were
     anticompetitive and violating them was procompetitive).
20            Zuffa’s pretext for addressing predatory hiring is that Dr. Singer shows that “Zuffa has
     restricted the supply of Fighter services by consistently maintaining significantly more Fighters under
21   contract than it could use.” SR1 ¶145 (MSJ 26). But the relevance of that point is that the restriction of
     Fighter services is direct evidence of Zuffa’s monopsony power, as discussed above. See supra
22   Sec.IV.C.ii. Zuffa acknowledges this point, for it attempts (unsuccessfully) to challenge Plaintiffs’
     reliance on the restriction of Fighter services for this purpose. MSJ 24-25 (II.b.ii). Plaintiffs have
23   provided extensive evidence that Zuffa restricted Fighter services. Indeed, even Zuffa admits Plaintiffs
     have identified at least five specific Fighters it “shelved.” MSJ 27-28. It also acknowledges Plaintiffs’
24   evidence of “delays” in making bouts available to Fighters, that is, of shelving. MSJ 28. That creates a
     genuine issue of material fact about whether Zuffa restricted Fighter services and, hence, whether it had
25   monopsony power. Rebel Oil, 51 F.3d at 1434; High-Tech, 856 F. Supp. 3d at 1122-23. To avoid this
     conclusion, Zuffa claims predatory hiring must be “examined more closely . . . than other forms of
26   anticompetitive conduct.” MSJ 27 (quotation marks and citation omitted). But Plaintiffs bring no such
     claim, so any heightened standard does not apply.
27   113
         E.g., Telecor Communications, Inc. v. Sw. Bell Tele. Co., 305 F.3d 1124, 1134 (10th Cir. 2002)
     (recognizing monopsony plaintiff does not have to prove end-user impact); Knevelbaard Dairies v.
28   Kraft Foods, Inc., 232 F.3d 979, 987-88 (9th Cir. 2000) (same); O’Bannon, 802 F.3d at 1070-71.

                                                         41                       Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 58 of 64



 1   output market bolsters the claims of athletes in an input market. 114 Abundant evidence shows Zuffa’s

 2   dominance in the MMA promotion market cemented its monopsony power and ability to suppress

 3   compensation. Dr. Singer explains that “the source of Zuffa’s dominance in the Output Market—its

 4   unique access to a broad stable of high-quality MMA Fighters, which is essential to staging successful

 5   live MMA events—does imply that Zuffa also enjoys dominant shares in the Input Markets and

 6   Submarket. To illustrate, an MMA promoter that is a pure monopolist in the market for promoting

 7   MMA events is, by definition, a monopsonist in the market for Fighters seeking to be paid to appear in

 8   MMA events: If there is only a single dominant MMA promoter, then there is only one place for an

 9   MMA fighter to work.” SR2 ¶137. Zuffa’s economist agreed. See Topel Tr. 464:2-14.

10          Furthermore, as Dr. Singer explains,

11

12                                           . SR2 ¶109. That reduced the competitive pressure on Zuffa to

13   increase Fighter compensation, buttressing its monopsony power. See SR1 ¶¶180-187; SR4 ¶5.

14

15                                                                                       CSF ¶6. Scott Coker,

16   the former Strikeforce CEO, testified that by acquiring Strikeforce, Zuffa would become the only

17   viable alternative for fighters: “[I]f there’s only one place to have a job, and then, there’s only a certain

18   amount of slots available to have employment, the fighter purses naturally would go down because now

19   you’re in control of the marketplace.” Coker Tr. 97:18-99:3. Plaintiff Kingsbury testified that “there’s

20   nowhere else to go at this point. Strikeforce didn’t exist anymore. Pride didn’t exist anymore. And I

21   had no way of saying no” to the UFC. Kingsbury Tr. 119:3-5. Zuffa claims it “could not or did not

22   restrict other promoters’ access to any of the purported requirements for a successful MMA

23   promotion,” MSJ 36, and then discusses venues, sponsors, and broadcasters. Id. 36-38. That argument

24
     114
        See, e.g., McNeil, 790 F. Supp. at 895-96 (“the existence of defendants’ monopoly power is relevant
25   for purposes of determining whether the challenged restraints are more anticompetitive because they
     have been imposed by a monopolist…”; “although defendants argue that monopolization of an output
26   product market … is irrelevant to a determination of the legality of restraints in an input labor market
     … they nevertheless premise their entire rule of reason defense on the alleged necessity of
27   implementing player restraints in the relevant input market in order to strengthen their ability to
     compete in the output market” (citations omitted)); see also id. at 896 (noting plaintiffs would have
28   opportunity to prove at trial that because defendants have monopoly power in the output market, they
     have monopsony power in the input market).
                                                         42                       Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 59 of 64



 1   ignores one of Plaintiffs ' central points: that Zuffa deprived other promoters of a critical mass of

 2   marquee Fighters- a necessity to be a successful "major league" promoter. See CSF ,I,I3-6, 19-26.

 3     I. Direct Evidence Establishes Zuffa's Monopoly Power

 4          As noted above, supra at 20, monopoly power can be demonstrated with direct evidence, such

 5   as inflated prices or restricted output, Rebel Oil, 51 F.3d at 1434; Le, 216 F. Supp. 3d at 1161, in

 6   addition to Plaintiffs ' indirect evidence, see supra 26-28, 41-43, CSF ,I,I22-26-which is also sufficient

 7   by itself. The record indicates Zuffa profitably raised the price of its live MMA events above

 8   competitive levels. Between 2010 and 201 5~uring the period when it acquired Strikeforce and

 9   Zuffa 's foreclosure of the relevant markets increased significantly-it increased its pay-per-view prices

10   by l l . SRI ,I147. 115 Zuffa documents show the UFC has                                                  "
11   and that

12   CSF ,I3 l & n .54. Zuffa argues that price increases are not sufficient to demonstrate market power. MSJ

13   38. However, dming this same period of time, Zuffa's documents reveal

14                                                                            . See, e.g., SRI ,I1 99. That is

15   monopoly power. See AREEDA & HovENKAMP, ,I5 01 .116 At the same time, Zuffa's price increases

16   cannot reflect competitive conditions-such as increasing costs or demand-because

17                                                           . SR2 ,I46. 117 fu addition, Deutsche Bank testified

18   that Zuffa provided it with data demonstrating that '

19                                             " Deutsche Bank 30(b)(6) Tr. 119 :9-1 20 :6 (emphasis added).

20

21   115
         Zuffa claims that it only increased its PPV prices by $5, MSJ 38, but that figure ignores the.increasino
                                                                                                             .
     percentage of PPV revenues that Zuffa was able to obtain from PPV distributors. SR2 ,I45. The
22   figure is the same price hike expressed as a p ercentage of Zuffa 's average revel.ueM   er residen za
     customer-that is, only the po1t ion of the retail price that accrnes to Zuffa. The            figure is what
23   is relevant for determining whether Zuffa could profitably exercise m onopoly power. · u a ' s profitability
     is dete1mined by its own revenues-not those of PPV distributors. From Zuffa' s perspective, PPV
24   distributors are its direct customers. SR2 ,i,I44-45.
     116 One 2009 UFC ublic resentation to lenders notes '
25

26
                                                                                                     , n.49 1.
27          us,     em n re ay Seller Antitrust z zg. ,                     ,a           . Cal. Mar. 4, 2010),
     aff'd, 433 F. App 'x 504 (9th Cir. 2011), MSJ 38, the price increases here w ere accompanied by output
28   reductions. See infra section IV.I.ii; SR2 ,J46.

                                                          43                       Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                            Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 60 of 64



 1   Such price increases that cannot be explained by competitive conditions establish monopoly power. See

 2   Bd. of Regents, 468 U.S . at 109 n.38.

 3          Further, while Zuffa was increasing its PPV prices byl o/o, it restricted its PPV output bylo/o.

 4   SRI ,r,r148, 201-02; CSF ,r31 & nn.53-54. Its supply of PPV events

 5                                                                                . SRI ,r203 (citing Ex.116

 6   at *9). Zuffa was essentially the only MMA promoter with PPV events during this time. (Bellator had a

 7   single PPV event in 2014.) So the industry supply of PPV events decreased. Id. Zuffa argues its output

 8   of live MMA events-including non-PPV events-increased dming the Class Period. MSJ 38.

 9   However, the relevant effect on competition is mark.etwide. 118 Zuffa appears to acknowledge this,

10   arguing that "plaintiffs' economists never attempt to show that Zuffa's actions ... led to a change in

11   overall output in the market." MSJ 39 (emphasis added). But Zuffa is wrong: Dr. Singer shows that as

12   Zuffa's foreclosure of the Input Market increased, output of live MMA events by non-Zuffa promoters

13   decreased, resulting in a net decrease in output. Supra n.53. That is confumed by Zuffa contracting

14   with more Fighters than it could use, "shelving" them and leading a rival promoter to testify that

15   Zuffa's fighters were "collecting dust." 119 Zuffa 's intent to suppress marketwide output is confumed by

16   its plans to acquire other MMA promoters just to shut them down. 120 See, e.g., Chicago Bd. of Trade v.

17   United States, 246 U.S. 23 1, 238 (191 8) ("knowledge of intent may help the cowt to interpret facts and

18   to predict consequences"). After Zuffa acquired WEC, Pride, and Sti·ikeforce, it closed them and the

19   UFC absorbed their Fighters. 121 Zuffa also ignores Plaintiffs' direct evidence of Zuffa's monopoly

20
     118
         See, e.g., Procaps S.A. v. Patheon Inc. , 141 F. Supp. 3d 1246, 1278 (S.D. Fla. 2015) ("Plaintiff must
21   measme the magnitude of the actual adverse effects 'by their impact on the market rather than by their
     impact on competitors' and show that they are felt ' marketwide"' (quoting Spanish Broad. Sys. ofFla. ,
22   Inc. v. Clear Channel Commc'ns, Inc., 376 F.3d 1065, 1071 , 1074-75 & n .5 (11th Cir. 2004)).
     119
         Otto Tr. 116:4-24; see also SRI ,rI94, n.483. See supra Sec.IV.C.ii. The evidence that the Scheme
23   decreased marketwide output was lacking in Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp.,
     509 U.S. 209,233 (1993) (MSJ 39).
24   120
         In an email to Frank and Lorenzo Fe1titta detailing the result of acquisition talks with Pride's
     owners Thomas Paschall outside counsel for Zuffa durin the ac uisition of Pride noted
25

26

27

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                                                         44                      Case No.: 2:15-cv-01045-RFB-(PAL)
                        PLAINTIFFS' OPPOSITION TO ZUFFA'S MOTION FOR SUMMARY ruDGMENT
                                              Public Version (Redacted)
          Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 61 of 64



 1   power—that it excluded competitors. 122

 2     J. Plaintiffs Support their Identity Class Claim with Admissible Evidence
 3           Zuffa claims restraining Plaintiffs from using UFC intellectual property is not anticompetitive.

 4   MSJ 39. But Zuffa’s intellectual property is not the issue (and In re Apple iPod iTunes Antitrust Litig.,

 5   796 F. Supp. 2d 1137, 1145 (N.D. Cal. 2011) is irrelevant). MSJ 39. The same challenged conduct that

 6   injured the Bout Class also injured the Identity Class: Zuffa’s use of monopsony power to suppress the

 7   compensation of the Identity Class. SR1 ¶¶235-40. Dr. Singer draws the appropriate inference that

 8   Zuffa’s Scheme diminished the amount it paid Fighters proportionally across different revenue streams:

 9   ancillary revenues associated with identity rights and revenues directly from promoting live MMA

10   bouts. SR1 ¶253; see also Le, 216 F. Supp. at 1169 (holding Plaintiffs’ identity rights claims state an

11   antitrust violation). Zuffa offers no reason that Zuffa’s unlawful exercise of monopsony power would

12   have suppressed bout pay to a different degree than identity pay. Thus, Dr. Singer’s application of his

13   foreclosure regression to measure the amount of damages to the identity class is appropriate. 123

14     K. Plaintiffs Have Standing to Seek Injunctive Relief
15           Plaintiffs incorporate by reference their explanation of their standing to pursue injunctive relief

16   from their reply brief supporting class certification. Class Reply 25.

17   V.      CONCLUSION.
18           For the foregoing reasons, Zuffa’s summary judgment motion should be denied.

19

20

21   ever putting on an event); Ex.135 (“Pride is dead dummy! I killed ‘em.”). This evidence of inflated
     prices and restricted output distinguishes In re Ebay Seller Antitrust Litig., 2010 WL 760433, at *5
22   (MSJ 38), which lacked evidence of either.
     122
         See supra Secs.II.B & C, IV.C.iii; SR1 ¶149. “[E]vidence of the ability to exclude some competitors
23   from the market, even in the absence of market-wide restricted output or supracompetitive prices, could
     suffice to demonstrate market power in certain instances[.]” Church & Dwight Co. v. Mayer Labs.,
24   Inc., 868 F. Supp. 2d 876, 900 (N.D. Cal. 2012) (citing Eastman Kodak Co. v. Image Technical
     Services, Inc., 504 U.S. 451, 464-65 (1992)).
25   123
         Zuffa additionally argues that Dr. Singer “assumes” all Identity Class members were harmed by the
     Scheme based on his analysis that, without the Scheme, Fighters would have received at least
26   for the grant of their identity rights. MSJ 40. That argument confuses impact and damages. The
     figure is Dr. Singer’s estimate of the amount of damages. Dr. Singer’s proof of impact derives from all
27   Fighters, in the actual world, signing away Identity rights without any compensation as a result of the
     Scheme. That suffices to show impact. See Class Reply 24. Finally, Zuffa asserts that the statute of
28   limitations bars many of the Identity Class claims. Plaintiffs incorporate by reference their responsive
     arguments from their opposition to Zuffa’s motion for partial summary judgment. See ECF No. 365.
                                                           45                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                             Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 62 of 64



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                                                   46                    Case No.: 2:15-cv-01045-RFB-(PAL)
                      PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                       Public Version (Redacted)
     Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 63 of 64



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                                              47                    Case No.: 2:15-cv-01045-RFB-(PAL)
                 PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                  Public Version (Redacted)
       Case 2:15-cv-01045-RFB-BNW Document 596 Filed 09/21/18 Page 64 of 64



 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that on this 21st day of September, 2018 a true and correct copy of
     PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT and
 3   supporting papers was served via email on all parties or persons requiring notice.
 4
                                                               /s/ Eric L. Cramer
 5
                                                               Eric L. Cramer
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                                                       48                     Case No.: 2:15-cv-01045-RFB-(PAL)
                       PLAINTIFFS’ OPPOSITION TO ZUFFA’S MOTION FOR SUMMARY JUDGMENT
                                          Public Version (Redacted)
